Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 1 of 97   PageID #:
                                   1799


                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I

                                    )
 DONNA GARCIA, Individually         )
 and As Guardian Ad Litem for       )
 Her Minor Children,                )
 J.L. and G.L.                      )
                                    )
             Plaintiff,             )
                                    )
       v.                           )       Civ. No. 18-00100 ACK-WRP
                                    )
 CITY AND COUNTY OF HONOLULU;       )
 RONALD J. LOMBARDI;                )
 LANELL ARAKAWA; NATHAN HEE;        )
 PAUL LEE; and JOHN and/or          )
 JANE DOES 1-10,                    )
                                    )
             Defendants.            )
                                    )

  ORDER GRANTING DEFENDANTS’ MOTIONS FOR JUDGMENT ON THE PLEADINGS
                        AND SUMMARY JUDGMENT

             Defendant Ronald J. Lombardi is a Honolulu Police

 Officer who was previously married to Plaintiff Donna Garcia.

 Plaintiff Garcia alleges that Defendant Lombardi committed acts

 of domestic violence and domestic abuse against her and their

 two children since 2008.      Plaintiff Garcia further alleges that

 Defendant Lombardi was enabled by his fellow police officers,

 who either took insufficient action or actively assisted

 Defendant Lombardi in harassing behavior, despite that Plaintiff

 Garcia informed the Honolulu Police Department (“HPD”) about

 Defendant Lombardi’s conduct.       Plaintiff Garcia asserts that the

 HPD has a custom in which police officers provide favorable


                                    - 1 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 2 of 97     PageID #:
                                   1800


 treatment to fellow officers who are accused of domestic abuse—

 favor that is not provided when the accused abuser is not an HPD

 officer.

             Based on these allegations, Plaintiff Garcia filed a

 lawsuit on March 15, 2018, against Defendant Lombardi, several

 of his fellow officers, and the City and County of Honolulu

 (“Defendant Honolulu”) for violating her Fourteenth Amendment

 rights to equal protection and substantive due process.              The

 claims against most individual officers were subsequently

 dismissed as time-barred by the two-year statute of limitations,

 but the claims against individual Defendant Officers Lanell

 Arakawa (“Defendant Arakawa”), Nathan Hee (“Defendant Hee”), and

 Paul Lee (“Defendant Lee”) involved at least one allegation of a

 timely act.    The claims against those individual officers

 largely survived a motion to dismiss on that basis.          The claims

 against Defendant Honolulu, which the Court found plausibly

 subject to the continuing violations doctrine, also largely

 survived.

             Each of the remaining Defendants, except Defendant

 Lombardi, now moves for dismissal of the remaining claims.              As

 against Defendant Lee, the Court now considers the timely

 allegation that he conducted an intentionally deficient

 investigation of Plaintiff Garcia’s complaint regarding certain

 incident reports.     As against Defendant Officers Arakawa and


                                    - 2 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 3 of 97   PageID #:
                                   1801


 Hee, the Court now considers the timely allegation that the

 officers assisted Defendant Lombardi in filing an HPD incident

 report accusing Plaintiff Garcia of custodial interference.            As

 against Defendant Honolulu, the Court now considers the

 sufficiency of the municipal liability claim.         For the reasons

 that follow, the Court GRANTS the Motion for Summary Judgment

 filed by Defendant Officer Paul Lee, ECF No. 131; GRANTS the

 Motion for Judgment on the Pleadings filed by Defendant Officers

 Lanell Arakawa and Nathan Hee, ECF No. 130; and GRANTS the

 Motion for Summary Judgment filed by Defendant Honolulu, ECF No.

 134.



                           PROCEDURAL BACKGROUND

             On March 15, 2018, Plaintiff Donna Garcia,

 individually and as guardian ad litem for her minor children,

 J.L. and G.L. (“Plaintiff Garcia”), filed a Complaint, ECF

 No. 1, against Defendant Honolulu, twenty-one HPD officers, and

 John and/or Jane Does 1–10 (“Doe Defendants”).         Compl. ¶¶ 11–14.

             Defendant Honolulu and each HPD officer except

 Defendant Lombardi filed motions to dismiss.         ECF Nos. 20, 25,

 40, 45.    The Court granted the Defendants’ motions to dismiss,

 finding that (1) the claims against most of the officers were

 time-barred, except for those claims against Officers Arakawa,

 Hee, and Lee, which were insufficiently pled; (2) that the


                                    - 3 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 4 of 97    PageID #:
                                   1802


 official-capacity claims were duplicative of the claims against

 Defendant Honolulu; and (3) that the municipal liability claim

 was insufficiently pled.       ECF No. 64 (the “11/16/2018 Order”).

             On December 14, 2018, Plaintiff Garcia filed her First

 Amended Complaint (“FAC”).       ECF No. 70.    The FAC alleges claims

 against Defendant Honolulu and Defendant HPD Officers Lombardi,

 Lee, Arakawa, and Hee, as well as Doe Defendants.           The FAC

 alleges nearly the same claims as the Complaint, except that the

 FAC alleges an additional constitutional deprivation—violation

 of the substantive due process right to bodily integrity, which

 is protected by the Due Process Clause of the Fourteenth

 Amendment. 1/   FAC ¶¶ 213–233.

             Defendant Honolulu and, separately, Defendant Officers

 Arakawa, Hee, and Lee, filed motions to dismiss the FAC.             ECF

 Nos. 76, 77.    The Court granted in part and denied in part those

 motions, leaving intact the 42 U.S.C. § 1983 claims against the

 officers in their individual capacities and against Defendant

 Honolulu, and dismissing the remaining claims.           ECF No. 93 (the

 “05/03/2019 Order”).

             Defendants filed the now-pending motions on

 December 23, 2019.     First, Defendant Officers Arakawa and Hee

 filed a motion for judgment on the pleadings, ECF No. 130;


       1/Plaintiff Garcia’s original Complaint alleged only one constitutional
 deprivation: violation of the Equal Protection Clause of the Fourteenth
 Amendment.


                                    - 4 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 5 of 97   PageID #:
                                   1803


 second, Defendant Officer Lee filed a motion for judgment on the

 pleadings or, in the alternative, for summary judgment, ECF

 No. 131; and third, Defendant Honolulu filed a motion for

 summary judgment, ECF No. 134.       The Court initially set a hearing

 for March 24, 2020, then granted Plaintiff’s unopposed request

 for a continuance and reset the hearing for April 14.          ECF

 Nos. 152, 153.     After Plaintiff filed her oppositions on March

 24 and 25, ECF Nos. 159, 160, 161, the Court granted Defendants’

 unopposed motion for a 90-day stay of the case, and reset the

 April 14 hearing date for July 23, ECF Nos. 162, 165.

 Defendants filed their respective replies on June 29, ECF

 Nos. 175, 176, 178.     A telephonic hearing was held on July 23.



                            FACTUAL BACKGROUND

             The Court provides a consolidated review of the facts

 alleged in the First Amended Complaint and outlined in the

 Court’s prior 05/03/2019 Order, as well as a brief reference to

 some of the evidence now before it, noting at the outset that

 the two-year statute of limitation window commenced on March 15,

 2016.

             According to the FAC, Plaintiff Garcia is employed as

 an officer with the Department of Homeland Security, Customs and

 Border Protection, and she currently resides in Georgia, having

 permanently left Honolulu in 2009.         FAC ¶¶ 9–10.   Defendants


                                    - 5 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 6 of 97    PageID #:
                                   1804


 Lombardi, Arakawa, Hee, and Lee are all currently employed as

 HPD officers and reside in Honolulu.         Id. ¶¶ 12–13.

             Plaintiff Garcia and Defendant Lombardi were married

 in November 1999, separated in November 2007, and divorced in

 February 2011.     Id. ¶¶ 15, 17.     They have two children together,

 J.L. and G.L.    Id. ¶ 16.     Plaintiff Garcia was awarded temporary

 sole legal and physical custody of the children in the year

 following the separation, and that custody arrangement was made

 permanent in the divorce decree.        Id. ¶ 19.    Defendant Lombardi

 was awarded certain visitation rights.         FAC ¶¶ 113-14.

             The 73-page FAC features allegations spanning a ten-

 year period from 2008 to 2018 that describe how Defendant

 Lombardi engaged in abusive and harassing conduct over that

 period.    The FAC also alleges how Defendant Honolulu and

 numerous HPD officers failed to do anything to stop Defendant

 Lombardi and other HPD officers that Plaintiff Garcia alleges

 aided him in his harassment campaign.         The thrust of Plaintiff

 Garcia’s claims is that the HPD has a longstanding practice or

 custom of mishandling complaints of domestic abuse filed by

 victims against HPD officers. 2/


       2/As stated in the 05/03/2019 Order, the FAC appears to use the phrases
 “domestic violence” and “domestic abuse” interchangeably. On certain
 occasions, the FAC refers to instances of “domestic violence and abuse” and
 also refers to Defendant Lombardi’s repeated violations of protective orders,
 harassment, threats, and related types of misconduct. See, e.g., FAC ¶¶ 3–4,
 30, 58, 73, 170–173. For purposes of this Order, the Court will use only the
 phrase “domestic abuse” except where referring to a source that uses the
 phrase “domestic violence.”


                                     - 6 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 7 of 97   PageID #:
                                   1805


  I.   Assaults and Protective Orders

             Plaintiff Garcia alleges that on February 28, 2008,

 Defendant Lombardi sexually assaulted G.L.         Id. ¶¶ 20–21.     At

 some point prior to or in March 2008, Defendant Lombardi

 physically or sexually assaulted J.L, the other daughter.            Id.

 ¶¶ 22, 25.    In August 2009, J.L. and G.L. both reported to their

 therapist that Defendant Lombardi had committed sexual assaults.

 Id. ¶ 79.

             Between March and September of 2008, Plaintiff Garcia

 obtained three separate protective orders and one order for pre-

 decree relief due to Defendant Lombardi’s conduct.          In her

 petitions, Plaintiff Garcia reviewed instances in which

 Defendant Lombardi made threats of physical harm and assaulted

 the minor children.     Id. ¶¶ 24-50.

             Plaintiff Garcia alleges that Defendant Lombardi then

 violated the protective orders and pre-decree relief in ways

 including stalking Plaintiff Garcia and the children, attempting

 to have unsupervised visitation with the children, initiating

 unauthorized communications with Plaintiff Garcia, possessing a

 firearm in the presence of the children, and attempting to

 manipulate G.L. when she was undergoing treatment at the Sex

 Abuse Treatment Center.      Id. ¶ 40, 49.

             Plaintiff Garcia filed notice of these violations with

 the HPD throughout 2008.      Id. ¶ 60.    Despite such notices of


                                    - 7 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 8 of 97   PageID #:
                                   1806


 Defendant Lombardi’s violations of the three protective orders

 and pre-decree relief order, Plaintiff Garcia alleges that

 Defendant Honolulu failed to adequately investigate the

 incidents.    She contends that Defendant Honolulu’s failure to do

 so was pursuant to a longstanding custom or policy of

 mishandling allegations of abuse and harassment involving an HPD

 officer.    Id. ¶ 73.

 II.   Incident Reports

             Plaintiff Garcia alleges that Defendant Lombardi

 further harassed her by obtaining the assistance of two other

 HPD officers to file six false incident reports with the HPD

 between 2008 and 2011.      Id. ¶ 85.   The false incident reports

 involved accusations that Plaintiff Garcia committed criminal

 contempt, violated custodial arrangements, and made false

 allegations against Defendant Lombardi.        Id. ¶ 86.

             Plaintiff Garcia alleges that Defendant Lombardi

 resumed his campaign of harassment in November 2015 by again

 obtaining the assistance of other HPD officers to file four more

 false incident reports with HPD (the “Incident Reports”).            Id.

 ¶ 113.   Each of these reports falsely accused Plaintiff Garcia

 of custodial interference even though she was granted sole

 custody of the children, with Defendant Lombardi having only

 visitation rights.      Id. ¶¶ 113–114.    In each of the four

 instances, Defendant Lombardi (1) provided the officers


                                    - 8 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 9 of 97    PageID #:
                                   1807


 authoring the report with a 2012 Virginia court order outlining

 his visitation rights, and (2) either informed the officers that

 Plaintiff Garcia had departed Hawai`i with the children or

 provided a “Notification of Relocation” documenting that

 departure.     Opp. to Lee Motion, CSF, ECF No. 157, Exs. 4-7.           In

 each of the four instances, the officers completed an “Incident

 Report,” stating what Defendant Lombardi had reported, with a

 disposition “Pending CID–Child Abuse.”          Id.   The last of the

 Incident Reports was filed on March 18, 2016—within the two-year

 limitations window prior to Plaintiff Garcia filing her initial

 Complaint.     Id. at Ex. 7.    That report was authored by Defendant

 Arakawa and approved by Defendant Hee, both of whom worked with

 Defendant Lombardi in the HPD’s Traffic Division.            Id. ¶ 119.

 Evidently, there were about 100 officers in the Traffic

 Division. 3/   Lee Decl. ¶ 70.

             Plaintiff Garcia alleges that in filing these reports,

 Defendant Lombardi and the HPD officers who assisted him

 violated internal HPD policies.        Id. ¶ 115.     Defendant Lombardi

 used the four Incident Reports as evidence in a show cause

 action he filed in a Virginia Family Court in May 2016


       3/In Defendant Lee’s Concise Statement of Facts, he states that
 “[t]here are about 100 officers in the Traffic Division, and Lee was unaware
 that [Defendant Lombardi] was friends with any of the officers she named.”
 Lee CSF, ECF No. 132, ¶ 71. Plaintiff Garcia “[d]ispute[s]” this fact in her
 opposing Concise Statement of Facts, but provides no basis for the dispute,
 and provides no contrary evidence as to the number of officers working in the
 Traffic Division. Opp. to Lee CSF, ECF No. 157, at 8 ¶ 71. Accordingly, the
 Court finds no genuine dispute of fact on this point.


                                     - 9 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 10 of 97     PageID #:
                                    1808


  attempting to have Plaintiff Garcia held in contempt for

  violating his visitation rights.        Id. ¶ 124.    In the course of

  that action, Defendant Lombardi sent the Incident Reports to

  Plaintiff Garcia’s attorney as part of a discovery request.

  Garcia Decl., ECF No. 157-1 (“Garcia Decl.”), ¶ 41.

               Plaintiff Garcia subsequently retained a Honolulu

  criminal defense attorney who contacted the Honolulu

  Prosecutor’s Office and received confirmation in February 2017

  that no action would be taken on the Incident Reports—prior to

  the March 2017 Virginia court hearing.         Id. ¶¶ 43, 45; FAC ¶¶

  121-23.     Although no prosecution stemmed from the Incident

  Reports, they nevertheless caused Plaintiff Garcia to suffer

  significant mental disturbance.        Garcia Decl. ¶ 54.

III.    Professional Standards Office (“PSO”) Complaints

               Plaintiff Garcia filed two PSO complaints with the

  HPD. 4/    The first was dated June 25, 2015, and concerned

  Defendant Lombardi’s continued harassment of Plaintiff Garcia by

  violating the protective orders and other Family Court orders

  obtained in Virginia and Hawai`i.        Id. ¶ 108.     The PSO complaint

  also detailed Defendant Lombardi having made threats to resort

  to self-help to visit J.L. and G.L. unsupervised, as well as

  threats of retaliation against Plaintiff Garcia for accusing him


        4/The FAC indicates that Plaintiff Garcia filed four PSO complaints,
  however, it only features allegations regarding two PSO complaints. FAC
  ¶¶ 161, 176, 200.


                                     - 10 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 11 of 97     PageID #:
                                    1809


  of domestic violence and sexually assaulting G.L.            Id.

  Defendant Lee notified Plaintiff Garcia on May 11, 2017, that

  the investigation had been closed on November 9, 2015, because

  it was determined “to be more of a civil matter.”            Id. ¶¶ 109–

  10.

                 The conduct at issue in the June 2015 PSO complaint

  was also the subject of investigation by the Ottawa Police

  Department, as Plaintiff Garcia was living in Canada at the

  time.       Garcia Decl. ¶ 33; Lee Decl., ECF No 132-1 (“Lee Decl.”),

  ¶¶ 43-45.       The Ottawa Police Department likewise classified the

  case as a “family dispute” rather than criminal matter. 5/            Lee

  Decl. ¶ 50.

                 Plaintiff Garcia filed a second PSO complaint on

  March 15, 2017—within the two-year limitations window prior to

  Plaintiff Garcia filing her Complaint with this Court—in

  response to Defendant Lombardi obtaining the assistance of other

  HPD officers to file the four false Incident Reports against

  her.    Id. ¶¶ 126–127.     Plaintiff Garcia alleges that each of the

         5/In her Opposing CSF, Plaintiff Garcia “Disput[s]” that “In a related
  harassment investigation conducted by Ottawa PD Sgt. John Gibbons, he
  concluded that his investigation did not reveal any elements of a criminal
  offense and reclassified the case as a ‘family dispute.’” ECF No. 157 at 6
  ¶ 52. Plaintiff Garcia provides no basis for her dispute and provides no
  contradictory factual allegations. Plaintiff Garcia does allege that she was
  dissatisfied with the outcome of HPD’s investigation because she believes
  that the emails she submitted to the officers from Defendant Lombardi
  constituted domestic violence—dissatisfaction that likely extended to the
  Ottawa Police Department’s same conclusion. Garcia Decl. ¶¶ 34, 35.
  Accordingly, the Court understands that Plaintiff disputes that the outcome
  of the Ottawa investigation was reasonable, but not that the outcome was
  reached.


                                     - 11 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 12 of 97     PageID #:
                                    1810


  Incident Reports contained Defendant Lombardi’s accusations that

  Plaintiff Garcia had committed felony custodial interference.

  FAC ¶ 113.    Plaintiff Garcia also named in this complaint the

  HPD officers who helped Defendant Lombardi by filing the false

  Incident Reports with HPD, including Defendant Officers Arakawa

  and Hee.    Id. ¶ 127.    Defendant Lee conducted the investigation

  of this PSO complaint. 6/

              Defendant Lee spent approximately two months

  investigating Plaintiff Garcia’s March 2017 PSO complaint.              Lee

  Decl. ¶ 61.    In the course of that investigation, Defendant Lee

  concluded that there was insufficient evidence to support a

  criminal investigation against Lombardi and that there was no

  evidence of criminal wrongdoing by the other officers involved

  because there had been probable cause for the charge of

  custodial interference.       Lee Decl. ¶ 23-24.      Defendant Lee

  further determined that an administrative investigation was not

  possible because a year had elapsed from the dates of the

  incidents to the date of Plaintiff Garcia’s PSO complaint.              Lee

  Decl. ¶ 20.    Under HPD Policy 5.01—based on Article 12

  ¶ 12.B.2.m. of the collective bargaining agreement that the city

  reached with the police union—the statute of limitations on

  administrative investigations is one year from the date of the


        6/In his motion, Defendant Lee emphasizes that this March 2017
  complaint was initially filed with the Honolulu Police Commission, and then
  later forwarded to the PSO. See infra n.9.


                                     - 12 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 13 of 97   PageID #:
                                    1811


  alleged incident.     Lee Motion, CSF, ¶ 15 & Exs. B, E.       Because

  Plaintiff Garcia’s references to Defendant Lombardi’s harassment

  and domestic abuse had been previously investigated by HPD,

  Defendant Lee determined that he did not need to re-investigate

  those allegations.     Lee Decl. ¶¶ 41-51.

             Defendant Lee concluded that Defendant Lombardi had,

  however, violated HPD’s Code of Conduct and HPD policy by

  obtaining and sending copies of the Incident Reports—which were

  at the time open investigations—to Plaintiff Garcia’s attorney.

  Lee Decl. ¶¶ 53-62.     On that basis, Defendant Lee prepared an

  internal complaint form causing Defendant Lombardi to appear

  before the Administrative Review Board and resulting in

  Defendant Lombardi’s five-day suspension.        Lee Decl. ¶¶ 62-64.

             Plaintiff Garcia alleges that during and after

  Defendant Lee’s investigation of the false Incident Reports,

  Defendant Lombardi continued harassing Plaintiff Garcia by

  sending emails threatening to continue filing custodial

  interference reports, to publicize the contempt of court

  hearing, to notify Plaintiff Garcia’s employer of the events,

  and to take other disruptive and distressing actions.          Garcia

  Decl. ¶ 55.    Plaintiff Garcia alleges that, to her knowledge,

  Defendant Lee took no action on the emails.        Id. ¶ 56.




                                    - 13 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 14 of 97   PageID #:
                                    1812


                                  STANDARD

  I.    Summary Judgment

             Summary judgment is proper where there is no genuine

  issue of material fact and the moving party is entitled to

  judgment as a matter of law.      Fed. R. Civ. P. 56(a).      Federal

  Rule of Civil Procedure (“Rule”) 56(a) mandates summary judgment

  “against a party who fails to make a showing sufficient to

  establish the existence of an element essential to the party’s

  case, and on which that party will bear the burden of proof at

  trial.”   Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S. Ct.

  2548, 2552, 91 L. Ed. 2d 265 (1986); see also Broussard v. Univ.

  of Cal., 192 F.3d 1252, 1258 (9th Cir. 1999).

             “A party seeking summary judgment bears the initial

  burden of informing the court of the basis for its motion and of

  identifying those portions of the pleadings and discovery

  responses that demonstrate the absence of a genuine issue of

  material fact.”    Soremekun v. Thrifty Payless, Inc., 509 F.3d

  978, 984 (9th Cir. 2007) (citing Celotex, 477 U.S. at 323); see

  also Jespersen v. Harrah’s Operating Co., 392 F.3d 1076, 1079

  (9th Cir. 2004).    “When the moving party has carried its burden

  under Rule 56[(a)] its opponent must do more than simply show

  that there is some metaphysical doubt as to the material facts

  [and] come forward with specific facts showing that there is a

  genuine issue for trial.”      Matsushita Elec. Indus. Co. v. Zenith


                                    - 14 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 15 of 97   PageID #:
                                    1813


  Radio Corp., 475 U.S. 574, 586-87, 106 S. Ct. 1348, 1356, 89 L.

  Ed. 2d 538 (1986) (citation and internal quotation marks

  omitted); see also Anderson v. Liberty Lobby, Inc., 477 U.S.

  242, 247-48, 106 S. Ct. 2505, 2510, 91 L. Ed. 2d 202 (1986)

  (stating that a party cannot “rest upon the mere allegations or

  denials of his pleading” in opposing summary judgment).

             “An issue is ‘genuine’ only if there is a sufficient

  evidentiary basis on which a reasonable fact finder could find

  for the nonmoving party, and a dispute is ‘material’ only if it

  could affect the outcome of the suit under the governing law.”

  In re Barboza, 545 F.3d 702, 707 (9th Cir. 2008) (citing

  Anderson, 477 U.S. at 248).      When considering the evidence on a

  motion for summary judgment, the court must draw all reasonable

  inferences on behalf of the nonmoving party.         Matsushita Elec.

  Indus. Co., 475 U.S. at 587; see also Posey v. Lake Pend Oreille

  Sch. Dist. No. 84, 546 F.3d 1121, 1126 (9th Cir. 2008) (stating

  that “the evidence of [the nonmovant] is to be believed, and all

  justifiable inferences are to be drawn in his favor” (internal

  citation and quotation omitted)).

 II.    Judgment on the Pleadings

             Under Rule 12(c), “[a]fter the pleadings are closed—

  but early enough not to delay trial—a party may move for

  judgment on the pleadings.”      Judgment on the pleadings is

  properly granted “when, accepting all factual allegations in the


                                    - 15 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 16 of 97   PageID #:
                                    1814


  complaint as true, there is no issue of material fact in

  dispute, and the moving party is entitled to judgment as a

  matter of law.”    Chavez v. United States, 683 F.3d 1102, 1108

  (9th Cir. 2012) (citation and original alteration omitted).

              Analysis under Rule 12(c) is substantially identical

  to analysis under Rule 12(b)(6) because, under both rules, a

  court must determine whether the facts alleged in the complaint,

  taken as true, entitle the plaintiff to a legal remedy.          Id.;

  see also Harris v. Cty. of Orange, 682 F.3d 1126, 1131 (9th Cir.

  2012) (explaining that Rule 12(b)(6) and Rule 12(c) motions are

  functionally equivalent).

              The Court must accept as true the facts as pled by the

  non-movant and will construe the pleadings in the light most

  favorable to the nonmoving party.       U.S. ex rel. Cafasso v. Gen.

  Dynamics C4 Sys., Inc., 637 F.3d 1047, 1053 (9th Cir. 2011).

  However, mere conclusory statements in a complaint or “formulaic

  recitation[s] of the elements of a cause of action” are not

  sufficient. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127

  S. Ct. 1955, 1965, 167 L. Ed. 2d 929 (2007).



                                 DISCUSSION

              Defendant Lee seeks judgment on the pleadings or, in

  the alternative, summary judgment on the basis of qualified

  immunity.    Lee argues that he did not personally engage in


                                    - 16 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 17 of 97      PageID #:
                                    1815


  differential treatment and that there is no clearly established

  law providing notice that his investigation of Plaintiff Garcia

  violated her equal protection rights. 7/

              Defendants Arakawa and Hee seek judgment on the

  pleadings likewise on the basis of qualified immunity.             They

  argue that Garcia suffered no substantive due process violation,

  and that clearly established law shows that there is no

  constitutional right to an accurate police report.

              Defendant Honolulu seeks summary judgment on the basis

  that (1) Plaintiff Garcia’s claims are barred by the statute of

  limitations; (2) Plaintiff Garcia cannot demonstrate any

  underlying constitutional violation; and (3) no unlawful

  practice or custom exists in the Honolulu Police Department, nor

  are the other elements of municipal liability met.

              Because Plaintiff Garcia’s claims against all moving

  Defendants are asserted under § 1983, the Court begins there.

  I.    Section 1983

              Plaintiff Garcia asserts a § 1983 claim against

  Defendant Officer Lee for depriving her of the rights under the

  Equal Protection Clause of the Fourteenth Amendment.             Plaintiff



        7/ The Court found in its 05/03/2019 Order that, although Counts I and

  II both contain paragraphs naming all three of the Officer Defendants, the
  specific factual allegations in the FAC relating to equal protection
  violations concern only Defendant Lee, and the allegations relating to
  substantive due process violations concern only Defendants Arakawa and Hee.
  05/03/2019 Order at 31 n.17.


                                     - 17 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 18 of 97   PageID #:
                                    1816


  Garcia asserts a § 1983 claim against Defendant Officers Arakwa

  and Hee for depriving her of the right to bodily integrity,

  which is a substantive due process right guaranteed by the Due

  Process Clause of the Fourteenth Amendment.        She also asserts a

  § 1983 claim against Defendant Honolulu for municipal liability

  under Monell v. Dep’t of Soc. Servs. of the City of New York,

  436 U.S. 658, 98 S. Ct. 2018, 56 L. Ed. 2d 611 (1978).

             Section 1983 provides that “[e]very person who, under

  color of any statute, ordinance, regulation, custom, or usage of

  any State . . . subjects, or causes to be subjected any citizen

  of the United States . . . to the deprivation of any rights,

  privileges, or immunities secured by the Constitution and laws,

  shall be liable to the party injured . . . .”         42 U.S.C. § 1983.

  “To state a claim under § 1983, a plaintiff [(1)] must allege

  the violation of a right secured by the Constitution and laws of

  the United States, and [(2)] must show that the alleged

  deprivation was committed by a person acting under color of

  state law.”    West v. Atkins, 487 U.S. 42, 48, 108 S. Ct. 2250,

  2255, 101 L. Ed. 2d 40 (1988) (citations omitted).         A “person”

  includes “state and local officials sued in their individual

  capacities . . . and local government entities.”         Park v. City

  and Cty. of Honolulu, 292 F. Supp. 3d 1080, 1090 (D. Haw. 2018)

  (citing Vance v. Cty. of Santa Clara, 928 F. Supp. 993, 995–96




                                    - 18 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 19 of 97   PageID #:
                                    1817


  (N.D. Cal. 1996)); see also Monell, 436 U.S. at 690 (holding

  that a local government is a person for purposes § 1983).

             To hold a municipality liable under Monell, a

  plaintiff must show that the municipality had a policy,

  practice, or custom that was the moving force behind a violation

  of her constitutional rights.      Dougherty v. City of Covina, 654

  F.3d 892, 900 (9th Cir. 2011).      Specifically, a plaintiff must

  prove “(1) that [the plaintiff] possessed a constitutional right

  of which [s]he was deprived; (2) that the municipality had a

  policy; (3) that this policy amounts to deliberate indifference

  to the plaintiff’s constitutional right; and, (4) that the

  policy is the moving force behind the constitutional violation.”

  Id. (quoting Plumeau v. Sch. Dist. No. 40 Cty. of Yamhill, 130

  F.3d 432, 438 (9th Cir. 1997)) (alterations in original); see

  also Oviatt v. Pearce, 954 F.2d 1470, 1474 (9th Cir. 1992).

             Plaintiff Garcia’s Monell claim is premised on a

  longstanding practice or custom theory.        A municipality may also

  be sued for constitutional deprivations “visited pursuant to

  governmental ‘custom’ even though such a custom has not received

  formal approval through the body’s official decisionmaking

  channels.”    Monell, 436 U.S. at 690-91.      The Supreme Court

  observed that Congress included “customs and usages” in § 1983

  because state officials engaged in persistent and widespread

  discriminatory practices that, although not authorized by


                                    - 19 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 20 of 97   PageID #:
                                    1818


  written law, “could well be so permanent and well-settled as to

  constitute a ‘custom or usage’ with the force of law.”          Id. at

  691 (citing Adickes v. S. H. Kress & Co., 398 U.S. 144, 167-68,

  90 S. Ct. 1598, 1613, 26 L. Ed. 2d 142 (1970)).

             The Court addresses first the claims of the individual

  officers and then turns to the municipal liability claims.

 II.    Claims Against the Defendant Officers Lee, Arakawa, and Hee
        (Counts I and II)

             Defendant Officers Lee, Arakawa, and Hee all move for

  dismissal of the § 1983 claims asserted against them based on

  qualified immunity.

             Qualified immunity shields government officials who

  perform discretionary functions from liability for civil damages

  when “their conduct does not violate clearly established

  statutory or constitutional rights of which a reasonable person

  would have known.”     Pearson v. Callahan, 555 U.S. 223, 231, 129

  S. Ct. 808, 815, 172 L. Ed. 2d 565 (2009) (quoting Harlow v.

  Fitzgerald, 457 U.S. 800, 818, 102 S. Ct. 2727, 73 L. Ed. 2d 396

  (1982)).   “To determine whether an individual officer is

  entitled to qualified immunity, we ask (1) whether the official

  violated a constitutional right and (2) whether the

  constitutional right was clearly established.”         C.B. v. City of

  Sonora, 769 F.3d 1005, 1022 (9th Cir. 2014) (citing Pearson, 555

  U.S. at 232, 236).



                                    - 20 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 21 of 97   PageID #:
                                    1819


              As to the first prong, “[a] person ‘subjects’ another

  to the deprivation of a constitutional right . . . if he does an

  affirmative act, participates in another’s affirmative acts, or

  omits to perform an act which he is legally required to do that

  causes the deprivation of which the complaint is made.”          Johnson

  v. Duffy, 588 F.2d 740, 743 (9th Cir. 1978) (citing Sims v.

  Adams, 537 F.2d 829 (5th Cir. 1976)).        The causal connection can

  be established by direct personal participation in the

  deprivation or “by setting in motion a series of events by

  others which the actor knows or reasonably should know would

  cause others to inflict the constitutional injury.”          Id. at 743–

  44.

              As to the second prong, “[a] clearly established right

  is one that is ‘sufficiently clear that every reasonable

  official would have understood that what he is doing violates

  that right.’”    Mullenix v. Luna, 136 S. Ct. 305, 308, 193 L. Ed.

  2d 255 (2015) (quoting Reichle v. Howards, 566 U.S. 658, 664,

  132 S. Ct. 2088, 2093, 182 L. Ed. 2d 985 (2012)).         To analyze

  whether a right was clearly established, courts attribute to

  defendants “knowledge of constitutional developments at the time

  of the alleged constitutional violation, including all available

  case law.”    Fed. Deposit Ins. Corp. v. Henderson, 940 F.2d 465,

  477 (9th Cir. 1991) (internal quotation marks and citation

  omitted).    Whether an official is protected by qualified


                                    - 21 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 22 of 97   PageID #:
                                    1820


  immunity often turns on the “objective legal reasonableness” of

  his action.     Anderson v. Creighton, 483 U.S. 635, 639, 107 S.

  Ct. 3034, 3038, 97 L. Ed. 2d 523 (1987).

             The Court now considers the motions of the individual

  officer Defendants, which turn on whether they are entitled to

  qualified immunity.

        A.   Defendant Lee’s Motion

             As stated above, Defendant Lee moves for judgment on

  the pleadings or, in the alternative, for summary judgment, as

  to Plaintiff Garcia’s equal protection claim.         The Court

  considers the evidence presented and accordingly proceeds on

  Defendant Lee’s motion for summary judgment.

             1.     Equal Protection Violation

             The Equal Protection Clause of the Fourteenth

  Amendment prohibits a state from denying to “any person within

  its jurisdiction the equal protection of the laws.”          U.S. Const.

  amend. XIV § 1.     The Equal Protection Clause essentially

  mandates that state and local governments treat alike all

  persons that are similarly situated.       City of Cleburne, Tex. v.

  Cleburne Living Ctr., 473 U.S. 432, 439, 105 S. Ct. 3249, 3254,

  87 L. Ed. 2d 313 (1985).      The Equal Protection Clause applies to

  enforcement of the law.     See Navarro v. Block, 72 F.3d 712, 716

  (9th Cir. 1995); DeShaney v. Winnebago Cty. Dep’t of Soc.

  Servs., 489 U.S. 189, 197 n.3, 109 S. Ct. 998, 1004, 103 L. Ed.


                                    - 22 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 23 of 97   PageID #:
                                    1821


  2d 249 (1989).    A class-based equal protection violation

  requires a plaintiff to allege intentional discrimination on the

  basis of the plaintiff’s membership in an identifiable class.

  Flores v. Morgan Hill Unified Sch. Dist., 324 F.3d 1130, 1134

  (9th Cir. 2003) (citation omitted); see also Gallinger v.

  Becerra, 898 F.3d 1012, 1017 (9th Cir. 2018).

             To state a class-based equal protection claim, a

  plaintiff must allege (1) membership in an identifiable class;

  Flores, 324 F.3d at 1134–35 (citations omitted) and (2) the

  existence of a similarly-situated class against which the

  plaintiff’s class can be compared.         Freeman v. City of Santa

  Ana, 68 F.3d 1180, 1187 (9th Cir. 1995).         If the classification

  involves a protected class—such as race or gender—or if the

  classification implicates a fundamental right, the court applies

  a heightened level of scrutiny to determine whether the

  government’s conduct is constitutional.         See Gallinger, 898 F.3d

  at 1017; Freeman, 68 F.3d a 1187.       If the classification is not

  inherently invidious, or does not implicate a fundamental right,

  the court applies rational basis review.         Navarro, 72 F.3d at

  717 (citation omitted).     Under rational basis review, the

  government classification must be rationally related to

  legitimate government objectives.       Id. (citing Schweiker v.

  Wilson, 450 U.S. 221, 230, 101 S. Ct. 1074, 1081, 67 L. Ed. 2d




                                    - 23 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 24 of 97     PageID #:
                                    1822


  186 (1981)).     The Court finds that rational basis review applies

  here.

               In its 05/03/2019 Order, the Court held that Plaintiff

  Garcia’s FAC stated a plausible claim against Defendant Lee for

  an equal protection violation.        Plaintiff Garcia alleged

  membership in an identifiable class:         victims of domestic abuse

  whose abusers are HPD officers.        05/03/2019 Order at 24-25.       The

  FAC also plausibly identified a similarly-situated class against

  which Plaintiff Garcia’s class can be compared:           domestic abuse

  victims whose abusers are not HPD officers.          05/03/2019 Order at

  25-26.     Finally, Plaintiff Garcia alleged that Defendant Lee’s

  role in two PSO complaints violated her right to equal

  protection. 8/   05/03/2019 Order at 33-35.

               Defendant Lee asserts that he is entitled to qualified

  immunity both because (1) the equal protection claim against him

  does not amount to a constitutional violation; and (2) there is

  no clearly established law that his conduct violated Plaintiff

  Garcia’s equal protection rights.        The Court first addresses the

  sufficiency of Plaintiff Garcia’s separate concise statement and

  then addresses each of the arguments on the merits.


        8/As discussed below, Defendant Lee submits a declaration in support of
  his motion stating that he was only involved in the investigation of one of
  Plaintiff Garcia’s PSO complaints, not two. Defendant Lee further submits
  that the complaint he investigated was initially filed with the Honolulu
  Police Commission and thereafter referred to the PSO. Because Plaintiff
  Garcia provides no evidence contradicting these assertions, the Court now
  finds them well-founded. See infra.


                                     - 24 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 25 of 97   PageID #:
                                    1823


             2.    Sufficiency of Plaintiff Garcia’s Separate
                   Concise Statement

             Defendant Lee argues in his reply that Plaintiff

  Garcia’s separate concise statement of facts submitted in

  opposition to Defendant Lee’s motion for summary judgment failed

  to comply with Local Rule 56.1(g), and that the facts submitted

  by Defendant Lee should therefore be deemed admitted.          Lee

  Reply, ECF No. 176, at 4.      Defendant Lee argues that “since

  Plaintiff failed to properly dispute and propose new facts in

  her Opposition, it would be prejudicial to Defendant Lee [for

  the Court] to consider any new facts not set forth in

  Plaintiff’s pleadings.”     Id.

             Local Rule 56.1(g) provides that, “[f]or purposes of a

  motion for summary judgment, material facts set forth in the

  movant’s concise statement will be deemed admitted unless

  controverted by a separate concise statement of the opposing

  party.”   See also Rule 56(e); Heinemann v. Satterberg, 731 F.3d

  914, 917 (9th Cir. 2013) (stating that Rule 56(e) was amended in

  2010 to reflect the “deemed admitted” provision in many local

  rules, including Hawai`i’s Local Rule 56.1(g)).

             Plaintiff Garcia submits a separate concise statement

  with two sections.     ECF No. 157.    In the first section,

  Plaintiff Garcia writes only whether she “Admit[s]” or

  “Dispute[s]” the facts submitted by Defendant Lee.         Id. at 1-8.



                                    - 25 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 26 of 97   PageID #:
                                    1824


  In the second section, Plaintiff Garcia submits her own

  statement of the facts, which she supports with citations to

  evidence.    Id. at 9-14.   Although the Court would prefer for

  Plaintiff Garcia to make clear what evidence she relies on when

  she writes that Defendant Lee’s facts are “Dispute[d],” the

  Court is generally able to discern the basis for Plaintiff

  Garcia’s disputes from her evidentiary citations in her separate

  provision of additional facts.      On that basis, the Court denies

  Defendant Lee’s request to construe all facts submitted in his

  concise statement as admitted.      See Adwalls Media, LLC v. Ad

  Walls, LLC, No. CIV. 12-00614 SOM, 2015 WL 419659, at *4 (D.

  Haw. Jan. 30, 2015) (“Although Ad Walls contends that Adwalls

  Media must be deemed to have admitted the facts in Ad Walls’

  concise statements, entitling Ad Walls to summary judgment, it

  is clear from Adwalls Media’s concise statement which facts are

  controverted.    That is at the heart of what Local Rule 56.1(g)

  requires.    Under these circumstances, the court will not treat

  all of Ad Walls’ assertions as admitted.”).

              The Court is not persuaded by Defendant Lee’s claim

  that he would be prejudiced if the Court were to consider the

  additional facts proposed by Plaintiff Garcia in her separate

  concise statement.     In the cases Defendant Lee cites—one of

  which Defendant Lee fails to acknowledge is an unpublished

  decision without precedential value—the party opposing summary


                                    - 26 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 27 of 97   PageID #:
                                    1825


  judgment did not submit the subject evidence at all.          Heinemann,

  731 F.3d at 917 (holding that, where no opposition was filed to

  a motion for summary judgment, the court could deem the facts in

  the moving party’s concise statement admitted but it was still

  required to assess whether the moving party was entitled to

  summary judgment on the basis of its submitted facts); Carmen v.

  San Francisco Unified Sch. Dist., 237 F.3d 1026, 1029-31 (9th

  Cir. 2001) (holding that the court need not consider evidence

  that was not submitted with the pending motion, even though the

  evidence was in the record from a prior motion); Davis v.

  Gardiner, 1999 U.S. App. LEXIS 32529, *3 (9th Cir. 1999)

  (unpublished) (finding no genuine issue of material fact where

  plaintiff did not submit any evidence in opposing summary

  judgment).

             Plaintiff Garcia here submitted evidence in opposition

  to Defendant Lee’s motion, and the Court finds that Defendant

  Lee is not unfairly prejudiced by the Court’s consideration

  thereof.

             3.    Allegations of a Constitutional Violation

             Turning to the merits, Defendant Lee first argues that

  Plaintiff Garcia has failed to adequately allege a similarly-

  situated class against which Plaintiff Garcia’s class can be

  compared (hereinafter, a “Compare Class”).        The Court found in

  its 05/03/2019 Order that Plaintiff Garcia had plausibly


                                    - 27 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 28 of 97   PageID #:
                                    1826


  identified a Compare Class by pointing to two incidents in which

  the HPD responded appropriately to domestic abuse situations

  where the abuser was an ordinary citizen.        05/03/2019 Order at

  25-26.

             Defendant Lee argues the Court’s finding was erroneous

  because he was not personally involved in those appropriate

  responses, and accordingly “they cannot constitute a compare

  class as to him.”     Lee Motion at 19.    Defendant Lee does not

  otherwise submit evidence as to the sufficiency of the Compare

  Class.   Because the Court finds no genuine issue of material

  fact exists on the issue of intent—that is, because the Court

  ultimately finds that Defendant Lee neither intentionally

  discriminated nor was he deliberately indifferent—the Court need

  not further analyze the sufficiency of the asserted classes for

  the purposes of Defendant Lee’s motion.        The Court does address

  the sufficiency of the asserted classes in its analysis of

  Defendant Honolulu’s motion, infra.

             Plaintiff Garcia’s equal protection claim requires a

  showing that Plaintiff Garcia was discriminated against based on

  her membership in the identified class, as evidenced by a

  similarly situated Compare Class receiving better treatment.

  The Court now finds, based on the evidence presented on summary

  judgment, that (1) Defendant Lee did not discriminate against

  Plaintiff Garcia based on her membership in the identified


                                    - 28 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 29 of 97   PageID #:
                                    1827


  class; and (2) when considering the preliminary purpose of the

  Incident Reports that stated on their face that their

  “disposition” was pending further investigation by the criminal

  investigation division (“CID”)-Child Abuse section, Defendant

  Lee’s investigation was sufficient.

                   a.    Whether Defendant Lee Investigated One or
                         Two of Plaintiff Garcia’s Complaints

             Plaintiff Garcia alleges in her FAC that Defendant Lee

  investigated two of her PSO complaints.        Defendant Lee now

  submits a declaration stating that he was only involved in one

  of those investigations: the investigation of Plaintiff Garcia’s

  March 2017 complaint alleging that Defendant Lombardi wrongly

  filed the four Incident Reports against Plaintiff Garcia.            Lee

  Motion at 4; Lee Decl. ¶ 10; FAC ¶¶ 126–127.

             Notably, Plaintiff Garcia’s factual background in her

  opposing memorandum only references the March 2017 complaint.

  Opp. to Lee Motion at 2-3.      Although Plaintiff Garcia’s CSF

  opposing Lee’s motion disputes that “Lee did not handle Garcia’s

  6/25/15 PSO complaint,” ECF No. 157, at 3 ¶ 7, Plaintiff Garcia

  does not cite to any evidence contesting this fact, and her own

  statement of the facts does not reference Lee’s involvement

  prior to March 2017, id. at 12 ¶ 27 (stating only that Lee

  informed Plaintiff Garcia in May 2017 that the prior complaint

  had been closed and contains no indication that Defendant Lee



                                    - 29 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 30 of 97     PageID #:
                                    1828


  was involved in the investigation).         Accordingly, based on the

  evidence presented, the Court concludes that Defendant Lee has

  shown that he was only involved in the investigation of the

  March 2017 complaint. 9/

              Plaintiff Garcia also alleges that Defendant Lee tried

  to discourage her from including the names of HPD officers other

  than Defendant Lombardi in her March 2017 complaint.            FAC ¶ 127.

  Defendant Lee explains that he was first provided the March 2017

  complaint two weeks after it had been filed and then contacted

  Plaintiff Garcia the following day.         Lee Decl. ¶¶ 12-19.      It

  follows that Defendant Lee cannot have discouraged Plaintiff

  Garcia from including the names of other officers in a complaint

  that she had already filed weeks prior.          Lee Decl. ¶¶ 66-67.

              Defendant Lee notes that the officers who initially

  filed the Incident Reports (named in Plaintiff Garcia’s PSO

  complaint) were different from the CID detectives who



        9/ Defendant Lee further emphasizes that the only one of Plaintiff

  Garcia’s complaints he worked on was not submitted directly to the PSO office
  but rather was transferred there after its initial filing with the Honolulu
  Police Commission. Lee Motion at 3-4. Lee submits a letter to verify that
  this transfer occurred. Lee CSF, ECF No. 132, Ex. D. Plaintiff Garcia’s
  opposition to Lee’s motion does not directly address Defendant Lee’s
  characterization of the March 2017 complaint originating with the Honolulu
  Police Commission and later being transferred to PSO, instead continuing to
  refer to Plaintiff Garcia filing the March 2017 complaint with PSO. Opp. to
  Lee Motion at 3. Since Defendant Lee acknowledges that he handled this
  complaint, it is not clear to the Court that there is any significance to the
  complaint being transferred from the Honolulu Police Commission as opposed to
  being originally filed with the PSO. Accordingly, in the absence of any
  contrary evidence from Plaintiff Garcia, the Court finds that Lee’s Exhibit D
  adequately establishes this fact, but the Court concludes that the fact has
  no bearing on the outcome of Lee’s motion.


                                     - 30 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 31 of 97    PageID #:
                                    1829


  subsequently investigated the allegations in those Incident

  Reports (not named in Plaintiff Garcia’s PSO complaint).             Lee

  Decl. ¶ 39.    Defendant Lee told Plaintiff Garcia “that when

  someone reports a case, officers are required to classify and

  initiate the complaint,” and that the officers involved in

  filing the Incident Reports were acting pursuant to those

  obligations.    Lee Decl. ¶¶ 68, 71, 73.      Defendant Lee surmises

  that Plaintiff Garcia “felt that [Defendant Lee] was saying

  those things to ‘discourage’ her from including those officers

  in the investigation,” but emphasizes again that “her complaint

  had already been made, and those other officers had already been

  named in the complaint. I was not in a position to influence who

  was or was not involved in the investigation at that point.”

  Lee Decl. ¶ 74.

             Plaintiff Garcia admits that she had already filed her

  March 2017 complaint by the time Defendant Lee contacted her,

  ECF No. 157, at 8 ¶ 68, but still maintains that Defendant Lee

  tried to discourage her from including other officers in her

  complaint, id. at 7 ¶ 67.      Plaintiff Garcia provides no

  explanation or evidence for her dispute.        The Court accordingly

  finds that Defendant Lee could not have discouraged Plaintiff

  Garcia from including the names of other officers on an already-

  filed complaint.




                                    - 31 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 32 of 97   PageID #:
                                    1830


                   b.     Whether Defendant Lee Discriminated Against
                          Plaintiff Garcia

             Plaintiff Garcia must make a showing that Defendant

  Lee intentionally discriminated against her on the basis of her

  membership in an identifiable class.       Flores, 324 F.3d at 1134.

  As stated above, Plaintiff alleges that she is a member of a

  class of victims of domestic abuse whose abusers are HPD

  officers, as compared against a class of victims of domestic

  abuse whose abusers are not HPD officers.        05/03/2019 Order at

  24-25.

             Defendant Lee’s involvement is limited to his

  investigation of Plaintiff Garcia’s March 2017 PSO complaint.

  According to that complaint, Defendant Lombardi had fellow

  officers file unfounded custodial interference reports against

  Plaintiff Garcia on four separate occasions in order to harass

  her.   Opp. to Lee Motion, CSF, ECF No. 157, Ex. 8.        Plaintiff

  Garcia alleges that because Defendant Lombardi is an HPD

  officer, Defendant Lee’s investigation of that complaint was

  less thorough than it would have been had her abuser been an

  ordinary citizen.

                        i.     Whether Filing the Incident Reports
                               Qualifies as Domestic Abuse

             Because Plaintiff Garcia’s identified class involves

  victims of domestic abuse, and because Defendant Lee’s

  involvement is limited to investigating the filing of the four


                                    - 32 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 33 of 97    PageID #:
                                    1831


  Incident Reports, the Court must first determine if Defendant

  Lombardi’s actions in the filing of the Incident Reports

  qualifies as domestic abuse.          The Court notes that Defendant

  Lee’s investigation did not pertain to acts or threats of

  physical violence.        Although Plaintiff Garcia’s March 2017

  complaint included some limited references to Defendant

  Lombardi’s prior acts or threats of violence, Defendant Lee

  explains that he did not re-investigate those claims because

  they had been previously investigated by other officers.             Lee

  Decl. ¶ 51.       Plaintiff Garcia submits no evidence suggesting

  that Defendant Lee had any duty to re-investigate claims that

  were already investigated.

                Domestic abuse may include, however, acts of extreme

  psychological abuse. 10/       Drawing all reasonable inferences in the

  light most favorable to Plaintiff Garcia, the Court finds that a

  genuine issue of material fact exists as to whether Defendant

  Officer Lombardi’s actions in the filing of the four Incident

  Reports would qualify as extreme psychological abuse.          Yet even

  assuming Defendant Lee was involved in investigating allegations

  of domestic abuse against an HPD officer—Plaintiff Garcia’s

  identified class—there is nevertheless no evidence before the

  Court suggesting that Defendant Lee discriminated against

  Plaintiff Garcia in conducting that investigation.

        10/   See HRS § 586-1; 05/03/2019 Order at 25 n.13.


                                        - 33 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 34 of 97   PageID #:
                                    1832


                     ii.      Whether Defendant Lee Had
                              Discriminatory Intent

             A showing of discriminatory intent requires “more than

  intent as volition or intent as awareness of consequences,” it

  requires that the decisionmaker “selected or reaffirmed a

  particular course of action at least in part ‘because of,’ not

  merely ‘in spite of,’ its adverse effects upon an identifiable

  group.”   Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 279, 99

  S. Ct. 2282, 2296, 60 L. Ed. 2d 870 (1979).         The determination

  of discriminatory intent is usually reserved for the factfinder—

  indeed, the Ninth Circuit has held that “any indication of

  discriminatory motive may suffice to raise a question that can

  only be resolved by a factfinder.”         Lyons v. England, 307 F.3d

  1092, 1113 (9th Cir. 2002) (internal quotation marks, ellipses,

  and citation omitted).     This does not, however, relieve

  Plaintiff of her duty to “present[] sufficient evidence to raise

  an inference” that “each of the” defendants acted with wrongful

  intent in order to survive summary judgment.         Flores, 324 F.3d

  at 1135 (going on to separately analyze the evidence of each

  defendant’s individual actions or inaction).

             Plaintiff Garcia submits the Draft Expert Witness

  Report of Dorotha (Dottie) L. Davis, Opp. to Lee Motion, CSF,

  Ex. 1, ECF No. 157-4 (the “Davis Report”).         Davis therein

  identifies several ways in which HPD policy was not followed in



                                    - 34 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 35 of 97     PageID #:
                                    1833


  responding to Plaintiff Garcia’s 2008 allegations of domestic

  abuse committed by Defendant Lombardi.         Davis also identifies

  certain ways in which HPD’s policies were themselves deficient.

  But the Davis Report does not reference Defendant Lee’s

  involvement and accordingly does not provide an indicia of

  Defendant Lee’s discriminatory intent.

              When the Court asked about evidence of discriminatory

  intent at the July 23, 2020 hearing, Plaintiff Garcia’s counsel

  indicated that discriminatory intent could be imputed to

  Defendant Lee from the statements made by other officers at

  other times.    Plaintiff Garcia’s argument appears to be a tacit

  acknowledgment that there is no evidence before the Court that

  Defendant Lee personally had any discriminatory intent.

              Plaintiff Garcia does not offer any authority enabling

  the Court to impute stray comments by other officers onto

  Defendant Lee individually and the Court declines to do so here,

  particularly where Defendant Lee is not alleged to have been

  present for the prior comments of others, and those comments

  date back several years. 11/     See Taylor v. List, 880 F.2d 1040,


        11/The Ninth Circuit has held that unconstitutional discriminatory
  motive may be found if a plaintiff can show either intentional discrimination
  or deliberate indifference, here requiring a showing that Defendant Lee
  responded in a clearly unreasonable manner to Plaintiff Garcia’s complaints.
  Flores, 324 F.3d at 1135. Again, Plaintiff Garcia must point to Defendant
  Lee’s individual conduct. Id. As reviewed above, Plaintiff Garcia fails to
  identify any intentional discrimination by Defendant Lee, and Plaintiff
  Garcia makes no argument on summary judgment as to Defendant Lee’s deliberate
  (Continued . . .)



                                     - 35 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 36 of 97     PageID #:
                                    1834


  1045 (9th Cir. 1989) (“Liability under section 1983 arises only

  upon a showing of personal participation by the defendant.”);

  see also Jones v. Williams, 297 F.3d 930, 936 (9th Cir. 2002)

  (rejecting any “inference of individual liability of individual

  officers based on merely being present at the scene” where there

  was no evidence of “the required link of personal involvement”

  in the “deprivation of [the plaintiff’s] constitutional rights”

  as is “required to hold an officer liable”).

                 Because there is no evidence of discriminatory intent,

  Plaintiff Garcia’s equal protection claim against Defendant Lee

  fails.       Flores, 324 F.3d at 1134.

                      c.   Whether Defendant Lee’s Investigation was
                           Sufficient

                 Defendant Lee next argues that the investigation he

  conducted was legally sufficient.         Defendant Lee’s motion and

  supporting declaration describe the investigation he conducted.

  Defendant Lee states that he:

           •    was assigned to investigate Plaintiff Garcia’s March
                2017 complaint on April 4, 2017, Lee Decl. ¶ 17;

           •    called and emailed Plaintiff Garcia the following day,
                Lee Decl. ¶ 19;

           •    reviewed the allegations and concluded that, as to most
                of the allegations, an administrative investigation was
                time-barred, Lee Decl. ¶¶ 21-32;


  indifference. In any event, as discussed next, the Court finds that
  Plaintiff Garcia has failed to put forward evidence creating a genuine issue
  of fact as to the sufficiency of Defendant Lee’s investigation of Plaintiff
  Garcia’s complaints.


                                     - 36 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 37 of 97   PageID #:
                                    1835



          •   found that, to the extent that Plaintiff Garcia’s
              allegations of Defendant Lombardi’s harassing,
              intimidating, stalking, and bullying conduct had been
              previously investigated, Defendant Lee did not have a
              duty to re-investigate, Lee Decl. ¶¶ 45-51;

          •   found that Plaintiff Garcia had alleged that Defendant
              Lombardi had obtained copies of the four Incident
              Reports and sent those copies to Plaintiff Garcia’s
              attorney, and if true, that conduct would be improper;
              and Defendant Lee further found that those allegations
              were both timely and had not been previously
              investigated, Lee Decl. ¶¶ 53, 56;

          •   investigated that incident—including several interviews
              and reviewing documents—and concluded that Defendant
              Lombardi had committed seven violations of HPD’s Code
              of Conduct and policy, Lee Decl. ¶¶ 56-59;

          •   worked on the investigation nearly every day for eight
              weeks, Lee Decl. ¶ 63;

          •   completed a report from the investigation that was over
              200 pages, including exhibits, Lee Decl. ¶ 60; and

          •   submitted an internal complaint form alleging that
              Defendant Lombardi had committed seven different
              violations of HPD’s Code of Conduct and of policy 8.17
              (Security and Handling of Departmental Records and
              Files), which resulted in Defendant Lombardi appearing
              before an Administrative Review Board to answer for the
              allegations, and in the Board ultimately recommending
              Lombardi be found in violation of six sections of HPD’s
              Code of Conduct and policy 8.17 and subject to a five-
              day suspension. Lee Decl. ¶¶ 62-63.

              To undermine the purported thoroughness of Defendant

  Lee’s investigation, Plaintiff Garcia argues that Defendant Lee

  “ignored evidence that Defendant LOMBARDI had committed domestic

  violence by sending abusive emails to Plaintiff between 2014 and

  2017,” which Defendant Lee became aware of when he “reviewed



                                    - 37 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 38 of 97   PageID #:
                                    1836


  Case 15-0442 or had them sent to him by Plaintiff.”          Opp. to

  Lee’s Motion at 11-12.     Plaintiff Garcia also argues that

  Defendant Lee “cannot explain how the investigation into the

  sexual assault of G.L. was closed.”        Id. at 12.    Both of these

  claims reference prior investigations in which Defendant Lee was

  not involved, and Defendant Lee explains that it was not his

  duty to re-investigate those prior complaints.          Lee Decl. ¶ 9

  (stating PSO No. 15-0442 was a previous investigation in which

  he did not participate); ¶¶ 42-51 (discussing Defendant Lee’s

  review of prior investigations and his conclusion that he did

  not need to re-investigate).      Again, Plaintiff Garcia does not

  offer any evidence showing that Defendant Lee had any duty to

  re-investigate prior claims which had been concluded by other

  officers many years earlier.      Likewise, the emails from

  Defendant Lombardi that Plaintiff Garcia forwarded to Defendant

  Lee during and after his investigation did not pertain to the

  Incident Reports that were the subject of Defendant Lee’s

  investigation.    Garcia Decl. ¶ 55.

             The Court further notes that, as to the 2015

  allegations of harassment by Defendant Lombardi that Plaintiff

  Garcia argues were improperly closed as “more of a civil

  matter,” Plaintiff Garcia submitted similar allegations to the

  Ottawa Police Department.      Garcia Decl. ¶ 33.     In fact, the 2015

  PSO complaint originated when Defendant Lombardi self-reported


                                    - 38 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 39 of 97    PageID #:
                                    1837


  that the Ottawa Police Department was investigating him on

  charges of harassment.     Id.; Opp. to Lee Motion, CSF at 6 ¶ 45.

  After Defendant Lombardi self-reported, Plaintiff Garcia

  submitted her 2015 PSO complaint and attached the reports she

  had filed with the Ottawa Police Department.         Id.   The

  investigation by the Ottawa Police Department—like HPD—concluded

  Plaintiff Garcia had not shown the elements of a criminal

  offense and reclassified the matter as a family dispute.             Lee

  Decl. ¶ 50; see also supra n.5.       To the extent that the Court

  considers these untimely allegations for context, they support

  HPD’s findings that Plaintiff Garcia’s 2015 claims of harassment

  were not of a criminal nature or of the type requiring police

  involvement.

             Plaintiff Garcia also argues that “it is inconceivable

  how Defendant LEE arrived at the conclusion that there was

  probable cause to charge Plaintiff with custodial interference.”

  Id.   The four Incident Reports were the subject of Defendant

  Lee’s investigation.     Those four reports related to Defendant

  Lombardi’s claims that he was not receiving visitation with the

  children as provided for in the court orders.

             Each of the four Incident Reports lists the “incident

  type” as custodial interference under HRS § 707-726, then

  describes Defendant Lombardi’s accusations of Plaintiff Garcia

  denying him court-ordered visitation.        Defendant Lee concluded


                                    - 39 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 40 of 97     PageID #:
                                    1838


  in his investigation that there was no evidence of criminal

  wrongdoing by Defendant Lombardi or the officers who filed the

  Incident Reports because there had been probable cause that

  Plaintiff Garcia committed a custodial interference violation

  under HRS § 707-726(a).       Lee Decl. ¶¶ 23-24.      Under the specific

  provision cited by Defendant Lee, custodial interference occurs

  when there is a violation of a court-ordered custody right plus

  removal of the minor from the state.         As discussed below, the

  Court concludes that Plaintiff Garcia could not reasonably be

  charged with custodial interference.         But by the time of

  Defendant Lee’s investigation, Plaintiff Garcia had already

  obtained written confirmation from the prosecutor’s office that

  it would take no action on the Incident Reports.            Garcia Decl.

  ¶ 43.   Defendant Lee’s investigation was limited to whether

  there had been sufficient cause for the preliminary internal

  Incident Reports that stated on their face that they were

  submitted for further investigation by the CID-Child Abuse

  section. 12/   See Opp. to Lee Motion, CSF, Ex. 8 (the March 2017

  PSO complaint arguing that Defendant Lombardi should not have

  been permitted to file complaints against her).



        12/ The CID-Child Abuse section apparently conferred with the Honolulu

  Prosecutor’s Office regarding the four Incident Reports and the Prosecutor’s
  Office correctly decided not to take any action. Plaintiff Garcia learned
  that no action would be taken by the Honolulu Prosecutor in February 2017,
  before the Virginia court proceeding. Garcia Decl. ¶¶ 43, 45; see also Lee
  Reply, CSF, ECF No. 177, at 4 ¶¶ 32, 34.


                                     - 40 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 41 of 97   PageID #:
                                    1839


             In support of his conclusion that there was probable

  cause of custodial interference under HRS § 707-726(a),

  Defendant Lee asserts that the police officers who filed the

  custodial interference reports were presented with the following

  information.    First, the officers had Defendant Lombardi’s

  statements that Plaintiff Garcia was violating a court order by

  failing to have their children call him.        Lee Decl. ¶ 26;

  Incident Reports.     Second, the officers had a copy of certain

  pages from a court order containing Defendant Lombardi’s

  visitation rights.     Lee Decl. ¶ 27; Incident Reports; Opp. to

  Lee Motion, CSF, Ex. 10 (2012 Virginia Order for

  Custody/Visitation).     Third, the officers had Defendant

  Lombardi’s statements that Plaintiff Garcia had left the state

  of Hawai`i with the children, a formal notification of Plaintiff

  Garcia’s relocation documenting that move, or both.          Lee Decl.

  ¶ 28; Incident Reports.

             Defendant Lee also submits HPD Policy 8.06 and HPD’s

  Information Notice on the Handling of Custodial Interference

  Incidents.    HPD Policy 8.06 requires HPD officers to file a

  report “each time he or she receives a complaint or observes a

  violation of law,” unless subject to an exception, Lee Decl.

  ¶ 32, Lee Motion, CSF, Ex. A.      Generally, the report must be

  prepared by the end of the work shift.        Lee Motion, CSF, Ex. A.

  HPD Information Notice on the Handling Custodial Interference


                                    - 41 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 42 of 97   PageID #:
                                    1840


  Incidents, issued on May 3, 2012, “recommend[s] that officers

  initiate a criminal case for documentation whenever there are

  allegations of custodial interference,” rather than classifying

  the reports as “miscellaneous.”       Lee Decl. ¶¶ 34-36; Lee CSF

  Ex. C.

              In the face of this information and the required time

  limitation, the reporting officers filed the Incident Reports

  outlining Defendant Lombardi’s allegations and the documents

  reviewed.   However, it is significant that the Incident Reports

  were submitted for further investigation and disposition by the

  CID-Child Abuse division as to what, if any, action should be

  taken.   Contrary to Plaintiff Garcia’s claims, the Incident

  Reports were preliminary internal documentation of Defendant

  Lombardi’s accusations, and did not function to charge Plaintiff

  Garcia with any crime.     Although the CID-Child Abuse section

  later conferred with the Honolulu Prosecutor’s Officer regarding

  the Incident Reports, Defendant Lee was not investigating

  whether prosecution was warranted—by the time Plaintiff

  submitted her March 2017 PSO complaint, she had already been

  assured no prosecution would occur.

              Indeed, Plaintiff Garcia only became aware of the

  Incident Reports through Defendant Lombardi’s subsequent attempt

  to use them in a Virginia contempt proceeding.         Garcia Decl.

  ¶¶ 40-41.   The Incident Reports were restricted for internal use


                                    - 42 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 43 of 97     PageID #:
                                    1841


  only, but Defendant Lombardi turned them over in a discovery

  request from Plaintiff Garcia’s attorney, which was ultimately

  the basis for Defendant Lombardi’s suspension.           Lee Decl. ¶¶ 52-

  56, 62-64.     The intended internal and preliminary nature of the

  reports that Defendant Lee investigated supports Defendant Lee’s

  finding of sufficient cause for the minimal action of submitting

  the allegations for further investigation, and the use of the

  Incident Reports beyond that limited capacity resulted in

  discipline.

                Plaintiff Garcia argues that because she had sole

  physical and legal custody, “Defendant [Lombardi] had no

  custodial rights with which Plaintiff could interfere,” which

  “should have been immediately evident” from the 2011 divorce

  decree. 13/    Opp. to Lee Motion at 12-13.      The Court agrees that

  Plaintiff Garcia could not be properly charged with custodial

  interference.      Defendant Lombardi did not have any custody

  rights, only visitation rights.        As stated above, the relevant

  charge requires a violation of a court-ordered custody right.

  Further, although Plaintiff Garcia had left the state of

  Hawai`i, she had only done so pursuant to court approval.

                Yet HPD and the Honolulu Prosecutor never charged


        13/ It appears that the officers were presented with the 2012 Virginia

  court order, not the 2011 divorce decree. See Incident Reports. The
  distinction is irrelevant because both documents state that Plaintiff Garcia
  had custody of the children and that Defendant Lombardi had only visitation
  rights. Opp. to Lee Motion, CSF, Exs. 2, 10.


                                     - 43 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 44 of 97     PageID #:
                                    1842


  Plaintiff Garcia with custodial interference.           The issue for

  Defendant Lee was whether the reporting officers, given the time

  limitation within which to submit their reports, had sufficient

  cause to document Defendant Lombardi’s false accusations of

  custodial interference and forward those reports to the CID-

  Child Abuse section for further investigation.           The issue before

  Defendant Lee was not whether there was probable cause for a

  felony charge.     Drawing all reasonable inferences in favor of

  Plaintiff Garcia, the Court finds that Defendant Lee’s

  determination was objectively reasonable given the above-

  discussed circumstances and especially given the preliminary

  nature of the Incident Reports.

              Plaintiff Garcia submits evidence that Defendant

  Lombardi’s allegations of violations of his visitation rights

  were untrue, and when Defendant Lombardi pursued contempt

  charges in the Virginia court based on these alleged violations,

  the charges were dismissed.       Indeed, the focus of Defendant

  Lombardi’s claims against Plaintiff Garcia was that she violated

  his visitation rights, not whether she violated any of his

  custodial rights. 14/    Opp. to Lee Motion, CSF, ECF No. 157, Ex. 9

  (2017 Virginia court order stating “findings of the court: the


        14/ As Plaintiff Garcia explains in her declaration, “I was served with

  documents regarding an order to show cause that Defendant Lombardi filed
  against me with the Virginia Juvenile and Domestic Relations Court to have me
  held in contempt for not providing monthly reports to him, and for refusing
  to allow him visitation, none of which were true.” Garcia Decl. ¶ 40.


                                     - 44 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 45 of 97   PageID #:
                                    1843


  court dismissed father’s show-cause rule against mother”);

  Garcia Decl. ¶ 40 (stating Defendant Lombardi’s allegations that

  Plaintiff was refusing him visitation were not true), ¶ 45

  (stating that after an evidentiary hearing, the Virginia court

  “found that [Plaintiff Garcia] had not violated any of the

  visitation terms of the court’s order”); ¶ 46 (stating that

  Plaintiff Garcia sent Defendant Lee a copy of the 2017 Virginia

  court order).    Regardless, the later-proved falsity of the

  allegations does not mean that the officers lacked probable

  cause when initially provided with the documents and Defendant

  Lombardi’s representations.

             In the absence of evidence that Defendant Lee’s

  investigation was deficient or discriminatory, Plaintiff Garcia

  has failed to meet her burden on summary judgment.

             4.    Clearly Established Law

             Having found that no constitutional violation

  occurred, the Court need not address the second element of

  qualified immunity: whether the right was clearly established.

  Ashcroft v. al-Kidd, 563 U.S. 731, 735, 131 S. Ct. 2074, 2080,

  179 L. Ed. 2d 1149 (2011).      The Court nevertheless briefly notes

  that the law is clearly established to the extent that

  differential treatment of domestic abuse victims is an equal

  protection violation.     Navarro v. Block, 72 F.3d 712, 716 (9th

  Cir. 1995); Balistreri v. Pacifica Police Dep’t, 901 F.2d 696,


                                    - 45 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 46 of 97   PageID #:
                                    1844


  701 (9th Cir. 1988); Martinez v. Pennington, No.

  115CV00683JAMMJS, 2016 WL 4191881, at *4 (E.D. Cal. Aug. 9,

  2016); Motley v. Smith, No. 1:15-CV-00905, 2016 WL 3407658, at

  *8 (E.D. Cal. June 20, 2016); Chavira v. Chavez, No.

  SACV1300890JVSANX, 2014 WL 12576819, at *3 (C.D. Cal. Apr. 21,

  2014).

              However, the “clearly established” inquiry “turns on

  the objective legal reasonableness of the action, assessed in

  light of the legal rules that were clearly established at the

  time it was taken.”     Pearson, 555 U.S. at 244 (internal

  quotation marks and citation omitted).        The Supreme Court has

  “repeatedly told courts—and the Ninth Circuit in particular—not

  to define clearly established law at a high level of

  generality.”    Ashcroft, 563 U.S. at 742 (internal citation

  omitted).    For example, the general proposition “that an

  unreasonable search or seizure violates the Fourth Amendment is

  of little help in determining whether the violative nature of

  particular conduct is clearly established.”        Id.

              Here, the general proposition that discriminating

  against domestic abuse victims violates the Equal Protection

  Clause is of similarly little help in determining whether

  Defendant Lee’s conduct is of a violative nature.         Instead, the

  particular conduct at issue is Defendant Lee spending two months

  investigating the allegations in Plaintiff Garcia’s PSO


                                    - 46 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 47 of 97   PageID #:
                                    1845


  complaint regarding the four preliminary Incident Reports, and

  ultimately issuing a 200+ page report that recommended

  disciplinary action against Defendant Lombardi for his external

  release of those Incident Reports.         The Court finds that this

  conduct is not constitutionally deficient under any clearly

  established law.    Although Plaintiff Garcia cites several cases

  establishing a right to equal police protection, none suggest

  that Defendant Lee’s conduct here would violate that right.           See

  generally Opp. to Lee’s Motion at 5-9.

             In sum, the Court finds that Defendant Lee is entitled

  to summary judgment both (1) because Defendant Lee met his

  initial burden of identifying the absence of a genuine issue of

  material fact as to Plaintiff Garcia’s failure to establish her

  claim that he violated her right to equal protection, and

  Plaintiff Garcia has failed to show a genuine issue of material

  fact remains for trial; and (2) because Defendant Lee is

  entitled to qualified immunity as there is no clearly

  established law indicating that his conduct was legally

  unreasonable.    Accordingly, the Court GRANTS Defendant Lee’s

  Motion for Summary Judgment.

        B.   Defendant Arakawa and Hee’s Motion

             As stated above, Defendants Arakawa and Hee move for

  judgment on the pleadings as to Plaintiff Garcia’s substantive




                                    - 47 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 48 of 97    PageID #:
                                    1846


  due process claim for violation of her right to bodily

  integrity.

             1.    Right to Bodily Integrity

             The Due Process Clause of the Fourteenth Amendment

  provides that “[n]o State shall . . . deprive any person of

  life, liberty, or property, without due process of law.”             U.S.

  Const. amend. XIV, § 1.     Substantive due process “bar[s] certain

  government actions regardless of the fairness of the procedures

  used to implement them.”      Daniels v. Williams, 474 U.S. 327,

  331, 106 S. Ct. 662, 665, 88 L. Ed. 2d 662 (1986).

  Specifically, it “protects those fundamental rights and

  liberties which are, objectively, deeply rooted in this Nation’s

  history and tradition, and implicit in the concept of ordered

  liberty, such that neither liberty nor justice would exist if

  they were sacrificed.”     Washington v. Glucksberg, 521 U.S. 702,

  720-21, 117 S. Ct. 2258, 2268, 138 L. Ed. 2d 772 (1997)

  (internal quotation marks and citations omitted).

             The liberty interests secured by the Due Process

  Clause “include[] the right ‘generally to enjoy those privileges

  long recognized at common law as essential to the orderly

  pursuit of happiness by free men.’”        Ingraham v. Wright, 430

  U.S. 651, 673, 97 S. Ct. 1401, 1413, 51 L. Ed. 2d 711 (1977)

  (quoting Meyer v. Nebraska, 262 U.S. 390, 399, 43 S. Ct. 625,

  626, 67 L. Ed. 1042 (1923)).      The Supreme Court has held that


                                    - 48 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 49 of 97   PageID #:
                                    1847


  these common-law privileges specifically include protection

  against the government’s interference with an individual’s

  bodily integrity, Glucksberg, 521 U.S. at 720.         The threshold

  standard for judging a substantive due process claim is whether

  the challenged conduct is so arbitrary and capricious that it

  “shocks the conscience and violates the decencies of civilized

  conduct.”    Cty. of Sacramento v. Lewis, 523 U.S. 833, 846, 118

  S. Ct. 1708, 1717, 140 L. Ed. 2d 1043 (1998) (internal quotation

  marks omitted).

              Further, although “conduct deliberately intended to

  injure in some way unjustifiable by any government interest” is

  “most likely to rise to the conscience-shocking level,” the

  Supreme Court has emphasized that “[l]iability for negligently

  inflicted harm is categorically beneath the constitutional due

  process threshold.”     Id. at 834 (citing Daniels v. Williams, 474

  U.S. 327, 328, 331, 106 S. Ct. 662, 663, 665, 88 L. Ed. 2d 662

  (1986)).

              In its 05/03/2019 Order, the Court found that

  Plaintiff Garcia had adequately alleged that Defendants Arakawa

  and Hee violated her right to bodily integrity via their

  participation in Defendant Lombardi’s actions.         Specifically,

  the Court found that Plaintiff Garcia had alleged Defendant

  Lombardi repeatedly harassed and threatened her in violation of

  protective orders, had HPD officers file false incident reports


                                    - 49 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 50 of 97     PageID #:
                                    1848


  against her, and tried to have her prosecuted for custodial

  interference; and Plaintiff Garcia had alleged that Defendants

  Arakawa and Hee also engaged in constitutional deprivations of

  Plaintiff Garcia’s substantive due process rights by assisting

  Defendant Lombardi in filing one of those false incident reports

  against her on March 18, 2016. 15/      Plaintiff Garcia alleged that

  the actions of Defendants Arakawa and Hee were in violation of

  HPD policy.

              Defendants Arakawa and Hee assert that they are

  entitled to judgment on the pleadings on the basis of qualified

  immunity both because (1) the filing of a false police report is

  not a constitutional violation; and (2) precedent establishing

  there is no such right requires the conclusion that any such

  right was not clearly established.

              2.    Whether Defendants Arakawa and Hee Violated
                    Plaintiff Garcia’s Constitutional Rights

                    a.     Negligence

              The Court initially finds that the allegations against

  Defendants Arakawa and Hee are fundamentally that they acted



        15/In their motion, Defendant Officers Arakawa and Hee note that “the
  March 18, 2018 report is the only report authored by Arakawa and approved by
  Hee, but Arakawa authored another report dated January 14, 2016,” and “the
  same analysis applies equally to” both reports. Arakawa and Hee Motion at 4
  n.1. The January 2016 report is not at issue here because it is barred by
  the statute of limitations. 11/16/2018 Order at 13. The Court here analyzes
  the March report authored by Defendant Arakawa and approved by Defendant Hee,
  but notes the report is dated March 2016, and Defendants Arakawa and Hee
  mistakenly reference the report date as March 2018. FAC ¶ 119; Opp. to
  Honolulu Motion, CSF, Ex. 7 (the March 2016 report).


                                     - 50 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 51 of 97     PageID #:
                                    1849


  negligently in filing a false incident report.           Negligent

  conduct necessarily does not rise to the level of a substantive

  due process violation.      Lewis, 523 U.S. at 834; Daniels 474 U.S.

  at 331.

              According to the First Amended Complaint, Defendants

  Arakawa and Hee “were negligent in the way they handled the

  custodial interference complaint.”          FAC ¶ 196.   Plaintiff Garcia

  alleges that Defendants Arakawa and Hee “knew or should have

  known that” the incident report “would be used against Plaintiff

  in the ongoing custody and child support dispute.”            FAC ¶ 125.

  She also alleges that Defendants Arakawa and Hee are liable “for

  not knowing the laws they enforce,” FAC ¶ 181 & 195, and for

  failing to conduct initial investigations before filing the

  incident report, which would have shown the information therein

  was false, FAC ¶ 190.      Indeed, Plaintiff Garcia brought a

  negligence claim against Defendants Arakawa and Hee, which was

  dismissed by the Court in its 05/03/2019 Order. 16/

              The Court acknowledges that the First Amended

  Complaint also contains certain references suggesting deliberate

  conduct.    Again, Plaintiff Garcia alleges that Defendants

  Arakawa and Hee “knew or should have known” the incident report



        16/The negligence claim was dismissed because Plaintiff Garcia alleged
  that Defendants Arakawa and Hee had violated a duty imposed on them by HPD
  policy, and the Court held that HPD policy did not create a legal duty.
  05/03/2019 Order at 50.


                                     - 51 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 52 of 97   PageID #:
                                    1850


  would be used against Plaintiff Garcia.        FAC ¶ 125.    She also

  alleges that Defendants Arakawa and Hee had a duty “to not

  knowingly falsify a report or place any inaccurate or false

  information in a report,” FAC ¶ 195, and that it was “reasonably

  foreseeable” to Defendants Arakawa and Hee that the false

  incident report “would be put to such use” as the Virginia show-

  cause hearing, FAC ¶ 244.      But allegations suggesting any

  deliberate misconduct by Defendants Arakawa and Hee are cabined,

  and the Court finds them consistent with Plaintiff Garcia’s

  allegation that Defendants Arakawa and Hee acted negligently.

  Since “[l]iability for negligently inflicted harm is

  categorically beneath the constitutional due process threshold,”

  Lewis, 523 U.S. at 834, the substantive due process claim

  against Defendants Arakawa and Hee is subject to dismissal on

  this basis alone.

                   b.     Filing a False Report

             Defendants Arakawa and Hee also correctly argue that

  the filing of a false police report, without more, does not

  amount to a constitutional violation.        Landrigan v. City of

  Warwick, 628 F.2d 736, 744-45 (1st Cir. 1980).         District courts

  in the Ninth Circuit have repeatedly held as much.          See, e.g.,

  Reno v. Nielson, 424 F. Supp. 3d 1045, 1059 (D. Haw. 2019);

  Williams v. Jurdon, No. 117CV00860LJOMJS, 2017 WL 3981405, at *3

  (E.D. Cal. Sept. 11, 2017); Moreno v. Idaho, No. 4:15-CV-00342-


                                    - 52 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 53 of 97     PageID #:
                                    1851


  BLW, 2017 WL 1217113, at *16 n.20 (D. Idaho Mar. 31, 2017);

  McKinley v. United States, No. 3:14-CV-01931-HZ, 2015 WL

  4663206, at *11 (D. Or. Aug. 5, 2015); J.K.G. v. Cty. of San

  Diego, No. 11CV305 JLS RBB, 2011 WL 5218253, at *5 (S.D. Cal.

  Nov. 2, 2011).     The filing of a false police report may,

  however, “provide the basis for a § 1983 action where it results

  in some constitutional harm to the plaintiff.”           J.K.G., 2011 WL

  5218253 at *5; see also Lawrence v. City of St. Paul, 740 F.

  Supp. 2d 1026, 1038–39 (D. Minn. 2010) (“In any event, even if

  the police defendants knowingly inserted false information in

  their reports, Lawrence was not deprived of a constitutionally

  protected interest because of that false information, and thus

  she was not deprived of substantive due process.”).

              Here, Plaintiff Garcia alleges that Defendants Arakawa

  and Hee authored and approved a false HPD incident report and

  forwarded that report to Honolulu’s Department of the

  Prosecuting Attorney. 17/     FAC ¶ 196; Opp. to Arakwa and Hee

  Motion at 2-3.     The Honolulu Department of the Prosecuting

  Attorney did not pursue charges against Plaintiff Garcia.             Opp.

  to Arakawa and Hee Motion at 7; see also FAC ¶ 123.            Regardless,


        17/The Court has already referred to the nature of the Incident Reports—
  including the report filed by Defendants Arakawa and Hee—which on their face
  stated that they were to be submitted for further investigation by
  the CID-Child Abuse section and appear to have been subsequently forwarded by
  the CID-Child Abuse section to the Prosecutor’s Office. Because Defendants
  Arakawa and Hee move for judgment on the pleadings rather than summary
  judgment, however, the Court does not here discuss the contents of that
  report.


                                     - 53 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 54 of 97      PageID #:
                                    1852


  the filing of charges based on the incident report, without

  more, would still be insufficient to constitute the requisite

  constitutional harm.      As the Ninth Circuit has noted, “no

  substantive due process right exists under the Fourteenth

  Amendment to be free from prosecution without probable cause.” 18/

  Awabdy v. City of Adelanto, 368 F.3d 1062, 1069 (9th Cir. 2004);

  see also J.K.G., 2011 WL 5218253 at *6 (“[T]he filing of the

  false police report, even where it resulted in charges being

  filed, did not constitute a civil rights violation.”).

              Plaintiff Garcia does allege that Defendant Lombardi

  used the Incident Reports against her in a Virginia contempt

  proceeding, but Plaintiff Garcia fails to explain how this

  amounts to constitutional harm.         Cf. Awabdy, 368 F.3d at 1069-

  70. 19/   The Court also notes that the Virginia contempt




        18/ Plaintiff cites Awabdy for the proposition that Officer Defendants

  may be liable if they “improperly exerted pressure on the prosecutor,
  knowingly provided misinformation to him, concealed exculpatory evidence, or
  otherwise engaged in wrongful or bad faith conduct that was actively
  instrumental in causing the initiation of legal proceedings.” 368 F.3d at
  1067. Awabdy, however, was a malicious prosecution case, and the Ninth
  Circuit went on to find that the defendants must have acted with the intent
  to deprive the plaintiff of a constitutional right—there, the plaintiff had
  alleged “that the defendants engaged in malicious conduct with the purpose of
  depriving him of his constitutional rights to free speech and equal
  protection.” Id. at 1070. The court made clear that the intent to deprive
  the plaintiff of a constitutional right may not rely on substantive due
  process because “no substantive due process right exists under the Fourteenth
  Amendment to be free from prosecution without probable cause.” Id. at 1069.
        19/ The Court already found in its 05/03/2019 Order that Plaintiff Garcia

  does not allege an equal protection claim against Defendants Arakawa and Hee.
  As explained above, a substantive due process claim cannot qualify as the
  constitutional harm.


                                     - 54 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 55 of 97   PageID #:
                                    1853


  proceeding was dismissed with Plaintiff Garcia being awarded

  fees.   FAC ¶ 124.

             Plaintiff Garcia argues that the constitutional harm

  flowing from the incident report takes the form of her emotional

  damages.   The Court acknowledges that emotional harm may, in

  some instances, be actionable as a substantive due process

  violation.    As Plaintiff Garcia points out, the Tenth Circuit

  has “imagine[d] a case where psychological harassment might be

  so severe that it would amount to torture,” and in that case

  held a plaintiff may bring a substantive due process claim.

  Abeyta By & Through Martinez v. Chama Valley Indep. Sch. Dist.,

  No. 19, 77 F.3d 1253, 1258 (10th Cir. 1996).         But the filing of

  an incident report with HPD does not rise to this level, as

  evidenced by the number of cases finding false police reports

  are not actionable on their own.

             Plaintiff also cites cases involving the state-created

  danger doctrine.     In those cases, police officers were held

  liable for substantive due process violations where the officers

  arrested the driver of a vehicle and deserted the passengers in

  high risk situations.     In one case, the female passenger was

  left in a high crime area at 2:30 a.m. and then raped.          Wood v.

  Ostrander, 879 F.2d 583 (9th Cir. 1989).        In the second case,

  three minor children were abandoned in a vehicle on the side of

  the road in extreme weather conditions.        White v. Rochford, 592


                                    - 55 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 56 of 97     PageID #:
                                    1854


  F.2d 381 (7th Cir. 1979).       In both cases, the police were

  responsible for subjecting the passengers to extreme danger that

  they would not have otherwise faced.

              Given the cases finding that the filing of a false

  police report does not amount to a constitutional violation, the

  Court concludes that the facts here do not rise to the level

  involved in the state-created danger doctrine.           Even if

  Defendants Arakawa and Hee assisted Defendant Lombardi with

  filing an intentionally erroneous report for use in the contempt

  proceedings, court proceedings are not the type of state-created

  danger the doctrine is meant to address. 20/


        20/The Court does note that the Ninth Circuit recently recognized the
  applicability of the state-created danger doctrine in domestic violence
  settings. For that doctrine to apply, a plaintiff must show three elements:
  “First, she must show that the officers’ affirmative actions created or
  exposed her to an actual, particularized danger that she would not otherwise
  have faced. Second, she must show that the injury she suffered was
  foreseeable. Third, she must show that the officers were deliberately
  indifferent to the known danger.” Martinez v. City of Clovis, 943 F.3d 1260,
  1271 (9th Cir. 2019) (citation omitted). The Ninth Circuit found that those
  elements are met “when an officer reveals a domestic violence complaint made
  in confidence to an abuser while simultaneously making disparaging comments
  about the victim in a manner that reasonably emboldens the abuser to continue
  abusing the victim with impunity,” and “when an officer praises an abuser in
  the abuser’s presence after the abuser has been protected from arrest, in a
  manner that communicates to the abuser that the abuser may continue abusing
  the victim with impunity.” Id. at 1276-77. The Court finds that Plaintiff
  Garcia’s allegations falling within the two-year statute of limitations do
  not implicate the state-created danger doctrine. That Plaintiff Garcia had
  to answer contempt allegations in court is not equivalent to the physical
  violence the Ninth Circuit found qualified as “actual, particularized danger”
  in Martinez.
        Moreover, Martinez does not help Plaintiff Garcia here because the
  Ninth Circuit found at the time of its decision that those rights were not
  clearly established and the officers were thus entitled to qualified
  immunity. If the law was not clearly established in 2019, when the Martinez
  decision was issued, see id. (noting the court was “establish[ing]” the
  application of the state-created danger doctrine to the “protections afforded
  (Continued . . .)



                                     - 56 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 57 of 97     PageID #:
                                    1855


              Because Plaintiff Garcia has not identified any

  constitutional harm flowing from the incident report, Defendants

  Arakawa and Hee are entitled to qualified immunity.

              3.    Whether the Rights Were Clearly Established

              Although the Court has already found that Plaintiff

  Garcia has failed to show that Defendants Arakawa and Hee

  violated her right to bodily integrity, the Court goes on to

  address the second prong of the qualified immunity analysis:

  whether that right was clearly established.

              Plaintiff Garcia argues that actions which are malum

  in se support a denial of qualified immunity.           The case to which

  Plaintiff Garcia cites involved allegations against a police

  officer who touched and made inappropriate comments to that

  plaintiff.    Fontana v. Haskin, 262 F.3d 871, 875 (9th Cir.

  2001).   There, the Ninth Circuit expressly did not address

  qualified immunity “other than to note that the alleged conduct,

  if proved, is malum in se.       No reasonable officer could believe

  this conduct did not violate [the plaintiff’s] constitutional

  rights.”    Id. at 882 n.8.

              To the extent that Fontana is applicable in light of

  that court’s express declination to address qualified immunity,


  victims of domestic violence in situations like this one”), it certainly was
  not clearly established in 2016, when Defendants Arakawa and Hee acted. See
  Anderson v. Creighton, 483 U.S. 635, 639, 107 S. Ct. 3034, 3038, 97 L. Ed. 2d
  523 (1987) (the qualified immunity analysis considers the “the legal rules
  that were ‘clearly established’ at the time [the action] was taken”).


                                     - 57 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 58 of 97   PageID #:
                                    1856


  the direct sexual harassment while under police restraint that

  the Ninth Circuit found patently unreasonable in Fontana is

  distinct in kind from Defendants Arakawa and Hee assisting

  Defendant Lombardi by filing an incident report.         The plaintiff

  in Fontana was handcuffed in the back of a police car and a

  police officer sat in the back of the vehicle next to her,

  physically touched her, and made sexual comments to her while

  his partner drove.     See Fontana, 262 F.3d at 875.      Here,

  Defendants Arakawa and Hee filed an incident report containing

  the representations presented to them by Defendant Lombardi,

  while Plaintiff Garcia was living thousands of miles away, that

  Plaintiff Garcia did not learn about for months until Defendant

  Lombardi himself sent to her attorney the report pursuant to a

  discovery request, and that never resulted in charges being

  filed by HPD and the Honolulu Prosecutor.

             The Court acknowledges Plaintiff Garcia’s allegations

  of significant emotional harm based on her fear of ramifications

  stemming from the incident report and does not condone Defendant

  Lombardi’s upsetting actions.      But Defendants Arakawa and Hee

  were only involved in filing the single incident report, and the

  Court again notes that courts in this district have held that

  even false police reports do not constitute a constitutional

  violation.    Nor has Plaintiff Garcia alleged a constitutional

  harm flowing from the report.


                                    - 58 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 59 of 97   PageID #:
                                    1857


              In conclusion, the Court finds that Plaintiff Garcia

  has failed to sufficiently allege and failed to establish any

  material issue of fact that Defendants Arakawa and Hee violated

  her substantive due process constitutional rights and, further,

  that Defendants Arakawa and Hee are entitled to qualifieid

  immunity.    Accordingly, the Court GRANTS Defendant Arakawa and

  Hee’s Motion for Judgment on the Pleadings, and the substantive

  due process claim asserted against them is DISMISSED.

III.    Section 1983 Claims Against Defendant Honolulu (Count III)

              Plaintiff Garcia also asserts a § 1983 claim against

  Defendant Honolulu for municipal liability under Monell, 436

  U.S. 658.    Defendant Honolulu argues that summary judgment

  should be granted in its favor because (1) Plaintiff Garcia’s

  claims are barred by the statute of limitations; (2) Plaintiff

  Garcia cannot demonstrate any underlying equal protection or

  substantive due process violation; and (3) no unlawful practice

  or custom exists in the Honolulu Police Department, as is

  required to assert municipal liability, nor are the other

  elements of municipal liability met.

          A. Statute of Limitations

              1.   Erosion of the Continuing Violations Doctrine

              Both Plaintiff Garcia’s initial Complaint and her now-

  operative First Amended Complaint include allegations of events

  that date back to 2008.     Because the initial Complaint was filed


                                    - 59 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 60 of 97       PageID #:
                                    1858


  on March 15, 2018, the parties initially disputed whether the

  claims were time-barred by the two-year statute of limitations.

  In its 11/16/2018 Order, the Court found that Plaintiff Garcia’s

  claims against Defendant Honolulu qualified as a continuing

  violation and were not time-barred. 21/       11/16/2018 Order at 22.

              Defendant Honolulu now argues that the Court’s finding

  was erroneous based on a Ninth Circuit case decided after the

  Court’s prior orders.      In Bird v. Department of Human Services,

  935 F.3d 738, 746-49 (9th Cir. 2019), the Ninth Circuit

  addressed what remains of the continuing violations doctrine in

  light of certain case law limiting its application, referring

  extensively to the United States Supreme Court decision in

  National Railroad Passenger Corp. v. Morgan, 536 U.S. 101, 122

  S. Ct. 2061, 153 L. Ed. 2d 106 (2002).         The court found that,

  except for a hostile work environment exception, “the serial

  acts branch [of the continuing violations doctrine] is virtually

  non-existent.”     935 F.3d at 748.     As to the systemic branch of

  the continuing violations doctrine, the court particularly noted

  a remaining application to “class-wide pattern-or-practice

  claims,” but “refused to apply the systematic branch to rescue

  individualized claims that are otherwise time-barred.”             Id.




        21/As against the individual officers, the Court found that Plaintiff
  could only recover for those claims involving non-time-barred acts taken in
  furtherance of the discriminatory policy. 11/16/2018 Order at 24.


                                     - 60 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 61 of 97     PageID #:
                                    1859


              Citing its earlier decision in Pouncil v. Tilton, 704

  F.3d 568 (9th Cir. 2012), the Bird court therefore found that a

  plaintiff may recover for discrete acts that occur within the

  limitations period, but that recovery for related discrete acts

  that occur prior to the limitations period cannot be saved by

  the continuing violations doctrine and remain time barred.             Id.

  at 749.     Indeed, the Ninth Circuit discussed at length the

  ability to recover for discrete acts in Pouncil, where it

  carefully differentiated between cases involving a continuing

  effect of an untimely violation, and cases alleging a discrete

  new violation.     Continuing effects, even if they occur within

  the limitations period, do not rescue a claim if the violation

  itself occurred prior to the limitations period.           Id. at 581.

  In contrast, where an entirely new discrete violation occurs

  within the limitations period, a plaintiff may proceed on the

  timely present violation regardless of whether untimely prior

  violations existed. 22/    Id.

              Pursuant to that logic, the Pouncil court found a 2008

  violation timely alleged even though there had been a nearly


        22/In the context of a Title VII claim, the Supreme Court described
  “termination, failure to promote, denial of transfer, or refusal to hire” as
  “easy to identify” discrete acts. Morgan, 536 U.S. at 114. The Court
  distinguished discrete acts from hostile work environment claims which,
  unlike discrete acts, by “[t]heir very nature involve[] repeated conduct” and
  “therefore cannot be said to occur on any particular day”; rather, a hostile
  work environment claim “occurs over a series of days or perhaps years and, in
  direct contrast to discrete acts, a single act of harassment may not be
  actionable on its own.” Id. at 115.



                                     - 61 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 62 of 97   PageID #:
                                    1860


  identical 2002 violation that was not timely.         It explained that

  “[t]he 2008 denial is an independently wrongful present

  violation, because Pouncil’s claims do not rely on any acts that

  occurred before the statute of limitations period to establish a

  violation.”    Id.   The 2008 denial “fully establishe[d]” a

  violation occurred “without reaching back to the 2002 denial to

  establish a necessary element” of Pouncil’s claims.          Id.

  Quoting Morgan, the Pouncil court noted that where a plaintiff

  has alleged timely discrete acts, she may submit prior untimely

  acts “as background evidence in support of a timely claim.”           Id.

  at 578 (quoting Morgan, 536 U.S. at 113).

             The Court finds that Plaintiff Garcia’s equal

  protection claim, which asserts an ongoing pattern-or-practice

  of discrimination based on Plaintiff Garcia’s membership in a

  stated class, falls into the systemic branch of the continuing

  violations doctrine.     While the Supreme Court declined to

  address how these claims fit into the continuing violations

  doctrine in Morgan, 536 U.S. at 115 n.9, the Ninth Circuit has

  “left room for the systematic branch to apply to class-wide

  pattern-or-practice claims.”      Bird, 935 F.3d at 748.      The

  continuing violations doctrine may therefore apply “so long as

  the last act evidencing the continuing practice falls within

  the limitations period.”      Id. at 746.




                                    - 62 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 63 of 97     PageID #:
                                    1861


                The Court finds that Plaintiff Garcia’s substantive

  due process claim, on the other hand, falls into the serial acts

  branch to which the continuing violations doctrine does not

  apply.      Id.    With respect to the substantive due process claim,

  Plaintiff Garcia may only invoke the untimely allegations to

  show motive or context.       Carpinteria Valley Farms, Ltd. v. Cty.

  of Santa Barbara, 344 F.3d 822, 829 (9th Cir. 2003) (time-barred

  acts may be considered “as evidence to establish motive and to

  put . . . timely-filed claims in context” (citing RK Ventures,

  Inc. v. City of Seattle, 307 F.3d 1045, 1062 (9th Cir. 2002))).

                2.     Analysis of Plaintiff Garcia’s Timely Allegations

                Plaintiff Garcia here alleges violations that span

  back ten years from the date that she filed her Complaint.             For

  purposes of her equal protection claim, Plaintiff Garcia must

  establish that the discriminatory pattern-or-practice continued

  into the limitations period—meaning, Plaintiff Garcia must

  establish some timely conduct constituting a violation of her

  equal protection right.       For purposes of her substantive due

  process claim, Plaintiff Garcia may only recover for violations

  within the limitations period. 23/      The Court next considers




        23/Although the Court may consider untimely allegations in its analysis
  of motive and context, Carpinteria Valley Farms, Ltd. v. Cty. of Santa
  Barbara, 344 F.3d 822, 829 (9th Cir. 2003), the Court may not permit
  Plaintiff Garcia to proceed without establishing some timely abusive conduct.


                                     - 63 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 64 of 97     PageID #:
                                    1862


  whether there is sufficient evidence of any timely-alleged

  constitutional deprivation.

              Turning to the timely alleged acts, Plaintiff Garcia

  alleges that her constitutional rights to equal protection and

  substantive due process were violated based on (1) the internal

  preliminary incident report written by Defendant Arakawa and

  approved by Defendant Hee, containing Defendant Lombardi’s

  accusation of custodial interference, which did not result in

  any charges by HPD and the Honolulu Prosecutor; (2) Defendant

  Lee’s investigation of the four preliminary Incident Reports,

  which Defendant Lee spent two months investigating and

  ultimately resulted in Defendant Lombardi’s five-day

  suspension; 24/ (3) Defendant Lombardi’s use of the Incident

  Reports in a Virginia show-cause hearing in an effort to hold

  Plaintiff Garcia in contempt of court, which caused Plaintiff

  considerable distress resulting in her hospitalization and

  impacting her employment, but was summarily dismissed by the

  Virginia judge with Plaintiff Garcia being awarded fees; and (4)

  harassing emails Defendant Lombardi sent to Plaintiff Garcia,

  which Plaintiff Garcia forwarded to Defendant Lee during and

  after his investigation into the Incident Reports.




        24/The Court finds that the filing of each incident report and each of
  Plaintiff Garcia’s PSO complaints constitutes a “discrete act” under Morgan
  and its progeny.


                                     - 64 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 65 of 97      PageID #:
                                    1863


              While the Court by no means condones this clearly

  distressing behavior, the Court does note that it is entirely

  non-physical and occurred while Plaintiff Garcia was living

  thousands of miles away in Georgia.         Garcia Decl. ¶¶ 39, 52.        As

  to the incident report filed by Defendants Arakawa and Hee and

  the investigation conducted by Defendant Lee, the Court has

  already reviewed extensively why those incidents do not

  constitute a constitutional violation.          The Court has

  accordingly dismissed the claims asserted against the officers

  based on that conduct.

              Defendant Honolulu may be liable even when the

  individual officers are exonerated if Defendant Honolulu is

  separately and independently responsible for a claimed

  violation.    Fairley v. Luman, 281 F.3d 913, 917 (9th Cir. 2002).

  Plaintiff Garcia attempts to additionally cast a separate claim

  against Defendant Honolulu of “collective inaction.” 25/            Horton

  by Horton v. City of Santa Maria, 915 F.3d 592, 604 (9th Cir.

  2019).   In Horton, the Ninth Circuit considered a Fourteenth

  Amendment claim brought after a detainee attempted suicide.               The

  court found that the plaintiff had plausibly alleged collective



        25/ Plaintiff Garcia does not specifically characterize her claims under

  this line of case law, but at bottom her allegation is that Defendant
  Honolulu consistently failed to take sufficient action when she notified HPD
  of Defendant Lombardi’s domestic abuse. See, e.g., Opp. to Honolulu Motion
  at 9 (discussing “HPD’s systematic failure to address” “[t]he abuse Plaintiff
  experienced over a ten-year span at the hands of Defendant LOMBARDI”).


                                     - 65 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 66 of 97   PageID #:
                                    1864


  inaction by the police department because (1) a policy stating

  officers “should” remove belts from detainees was understood to

  be optional, the usual practice did not involve removing belts,

  and an independent audit conducted shortly before the attempted

  suicide showed many officers had only a “passing knowledge” of

  department policies; and (2) the security cameras were

  apparently improperly monitored because, despite informing

  Horton that he could wave at the cameras to obtain assistance,

  “no officer apparently observed Horton looping his belt through

  the cell door and hanging from it for over twenty minutes.”           Id.

  at 604-05.

             The Ninth Circuit likewise found a sufficient showing

  of collective inaction in Fairley, 281 F.3d 913.          In that case,

  the police incarcerated John Fairley for twelve days on

  outstanding warrants for his twin brother.          Id. at 915.   Both

  Fairley and his wife informed the police that the outstanding

  warrants had to be for the twin brother and the police were

  aware that Fairley had a twin brother.        Id.    During his twelve-

  day incarceration, Fairley repeatedly protested that he was

  innocent, which only resulted in a reduction of his privileges.

  Id.   Had any officer conducted a basic fingerprint comparison or

  run a DMV check over the course of his twelve-day incarceration,

  Fairley’s innocence would have been established.          Id.   On these

  facts, the Ninth Circuit held that the “alleged constitutional


                                    - 66 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 67 of 97   PageID #:
                                    1865


  deprivations were not suffered as a result of actions of the

  individual officers, but as a result of the collective inaction

  of the Long Beach Police Department.”        Id. at 917.

             Unlike Horton and Fairley, Defendant Honolulu did take

  action on Plaintiff Garcia’s complaints.        Defendant Lee spent

  two months investigating the Incident Reports—an investigation

  that led to punitive action against Defendant Lombardi.          And HPD

  and the Honolulu Prosecutor never filed charges against

  Plaintiff Garcia.     Defendant Lee reviewed documents, conducted

  interviews, and although he found Plaintiff Garcia’s PSO

  complaint was largely not timely filed, he ultimately

  recommended disciplinary action against Defendant Lombardi for

  Defendant Lombardi’s sending of the Incident Reports outside

  HPD.   The Court finds that these facts do not rise to the level

  of collective inaction.

             As to the actions of Defendant Lombardi, the

  allegations are only relevant if taken pursuant to Defendant

  Honolulu’s alleged longstanding practice or custom of

  mishandling domestic abuse complaints against HPD officers.           See

  Bd. of Cty. Comm’rs, 520 U.S. at 404.        When stated this way,

  however, it becomes plain that Defendant Lombardi’s actions

  cannot have been taken pursuant to a custom of mishandling

  complaints of abuse by HPD officers.       This is because Defendant

  Lombardi is the HPD officer who is alleged to have committed the


                                    - 67 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 68 of 97    PageID #:
                                    1866


  abusive acts.    It follows that Defendant Lombardi cannot have

  mishandled the complaints made against him; he was not handling

  those complaints at all.      Instead, the issue for municipal

  liability is whether other officers provided Defendant Lombardi

  favorable treatment based on his status as an HPD officer

  pursuant to Defendant Honolulu’s practice or custom.

              In any event, the Court would dismiss allegations of

  municipal liability derived from Defendant Lombardi’s own

  conduct because the Court finds that Defendant Lombardi was not

  acting under color of law. 26/     “There is no rigid formula for

  determining whether a state or local law official is acting

  under color of state law.”       Anderson v. Warner, 451 F.3d 1063,

  1068 (9th Cir. 2006) (internal quotation marks and citation

  omitted).    Courts consider the “nature and circumstances of the

  officer’s conduct and the relationship of that conduct to the

  performance of his official duties.”         Id.

              Defendant Honolulu argues that Defendant Lombardi was

  “driven by his own personal desires” and that his conduct was



        26/ In its 11/16/2018 Order, the Court found that Plaintiff Garcia had

  plausibly alleged that Defendants Arakawa, Hee, and Lee acted under color of
  state law for purposes of § 1983. 11/16/2018 Order at 54-55. In both its
  11/16/2018 and 05/03/2019 Orders, the Court declined to consider whether
  Defendant Lombardi had acted under color of law because Defendant Lombardi
  had not yet filed a motion nor had the parties briefed the point. 05/03/2019
  Order at 21 n.9. Defendant Lombardi has not filed a dispositive motion at
  this juncture either, however Defendant Honolulu’s summary judgment motion
  turns in part on whether there are any actionable underlying violations by
  Defendant Lombardi. Accordingly, the Court now considers whether Defendant
  Lombardi acted under color of law.


                                    - 68 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 69 of 97   PageID #:
                                    1867


  “not related in any meaningful way either to his status as a

  police officer or his duties.”      Honolulu Motion at 17.      At the

  hearing, Plaintiff Garcia’s counsel conceded that Defendant

  Lombardi was acting for his own benefit.        Nevertheless,

  Plaintiff Garcia argues that because Defendant Honolulu

  “insinuated itself into a position of interdependence with”

  Defendant Lombardi, that Defendant Honolulu “must be recognized

  as a joint participant in the challenged activity,” thereby

  infusing Defendant Lombardi’s otherwise personal conduct with

  the requisite color of law.      Opp. to Honolulu Motion at 7

  (quoting Howerton v. Gabica, 708 F.2d 380, 383 (9th Cir. 1983)).

             “A plaintiff may demonstrate joint action by proving

  the existence of a conspiracy or by showing that the private

  party was ‘a willful participant in joint action with the State

  or its agents.’”    Franklin v. Fox, 312 F.3d 423, 445 (9th Cir.

  2002) (quoting Collins v. Womancare, 878 F.2d 1145, 1154 (9th

  Cir. 1989)).    “Our cases have been careful to require a

  substantial degree of cooperation before imposing civil

  liability for actions by private individuals that impinge on

  civil rights,” id., only finding liability where “the particular

  actions challenged are inextricably intertwined with those of




                                    - 69 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 70 of 97   PageID #:
                                    1868


  the government,” Mathis v. Pac. Gas & Elec. Co., 75 F.3d 498,

  503 (9th Cir. 1996).

             Plaintiff Garcia alleges three potential violations by

  Defendant Lombardi within the limitations period: (1) that

  Defendant Lombardi obtained Defendant officers Arakawa and Hee’s

  assistance in filing the last custodial interference incident

  report; (2) that Defendant Lombardi used the Incident Reports in

  the Virginia show cause hearing; and (3) that Defendant Lombardi

  continued to send Plaintiff Garcia additional harassing emails.

  These allegations do not support a finding of joint action.

             Police officers are necessarily the ones who file HPD

  incident reports.     That police officers were involved in doing

  so here does not create a genuine issue of material fact as to

  the substantial degree of cooperation necessary to find joint

  action.   Even assuming there was sufficient collusion to find

  the actions of the officers who filed the reports were

  inextricably intertwined with the actions of Defendant Lombardi,

  the Court has already found that the filing of a false police

  report is not alone a constitutional violation.         Further, the

  incident reports on their face stated they were for internal

  purposes only, to be forwarded to the CID-Child Abuse section

  for investigation.

             Nor is there any indication of joint action as to

  Plaintiff Garcia’s allegations that Defendant Lombardi used the


                                    - 70 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 71 of 97   PageID #:
                                    1869


  Incident Reports in a contempt proceeding in Virginia.

  Plaintiff Garcia includes no allegations that HPD generally or

  any HPD officers (other than Lombardi) were involved in

  Defendant Lombardi’s use of the Incident Reports in the Virginia

  proceeding.    Because the police were not involved, there is no

  basis for the Court to find joint action.        Moreover, the Court

  hearing in Virginia involved Defendant Lombardi’s charges that

  Plaintiff Garcia violated his visitation rights, not that any

  custodial right had been violated.

             The same is true of Defendant Lombardi continuing to

  send Plaintiff Garcia harassing emails.        There is no evidence

  that any HPD officer aside from Defendant Lombardi was involved

  in sending those emails, and the Court does not ascribe their

  content to Defendant Honolulu.      Although Plaintiff Garcia

  forwarded those emails to Defendant Lee, this does not amount to

  the substantial degree of cooperation necessary to find joint

  action.

             Simply put, Plaintiff Garcia has not shown any genuine

  issue of material fact exists as to a timely-alleged

  constitutional violation.      Accordingly, Plaintiff Garcia’s

  claims are barred by the statute of limitations.

        B.   Elements of a Monell Claim

             The Court additionally addresses the merits of

  Plaintiff Garcia’s municipal liability claim.         To hold a


                                    - 71 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 72 of 97   PageID #:
                                    1870


  municipality liable under Monell, the plaintiff must show the

  municipality had a policy, practice, or custom that was the

  moving force behind a violation of her constitutional rights.

  Dougherty v. City of Covina, 654 F.3d 892, 900 (9th Cir. 2011).

  Specifically, the plaintiff must prove “(1) that [the plaintiff]

  possessed a constitutional right of which [s]he was deprived;

  (2) that the municipality had a policy; (3) that this policy

  amounts to deliberate indifference to the plaintiff’s

  constitutional right; and, (4) that the policy is the moving

  force behind the constitutional violation.”        Id. (quoting

  Plumeau v. Sch. Dist. No. 40 Cty. of Yamhill, 130 F.3d 432, 438

  (9th Cir. 1997)) (alterations in original).

             Plaintiff Garcia’s Monell claim is premised on a

  longstanding practice or custom theory.        Once the plaintiff has

  established the existence of a longstanding practice or custom,

  “a municipality may be liable for its custom ‘irrespective of

  whether official policy-makers had actual knowledge of the

  practice at issue.’”     Navarro, 72 F.3d at 714–15 (quoting

  Thompson v. City of Los Angeles, 885 F.2d 1439, 1444 (9th Cir.




                                    - 72 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 73 of 97      PageID #:
                                    1871


  1989), overruled on other grounds by Bull v. City and Cty. of

  San Francisco, 595 F.3d 964 (9th Cir. 2010)). 27/

              In its 05/03/2019 Order, the Court found that

  Plaintiff Garcia had plausibly alleged the existence of a

  longstanding practice or custom—that is, Defendant Honolulu’s

  alleged custom of mishandling domestic abuse complaints filed

  against HPD officers.      05/03/2019 Order at 39.        The Court went

  on to find that Plaintiff Garcia had sufficiently alleged the

  remaining elements of a Monell claim.          Id. at 43-49.     The Court

  now considers the evidence presented on summary judgment.

              1.    Constitutional Violation Claims

              Plaintiff Garcia alleges that Defendant Honolulu

  violated her constitutional rights to equal protection and

  substantive due process.

                    a.    Equal Protection

                Plaintiff Garcia’s class-based equal protection

  claim requires a showing of intentional discrimination on the


        27/ The Ninth Circuit has had little occasion to address Monell liability

  pursuant to a longstanding practice or custom. Another district court aptly
  described how an unconstitutional practice or custom originates, stating that
  “[u]nlike a ‘policy’, which comes into existence because of the top-down
  affirmative decision of a policymaker, a custom develops from the bottom-up.
  Thus, the liability of the municipality for customary constitutional
  violations derives not from its creation of the custom, but from its
  tolerance or acquiescence in it.” Britton v. Maloney, 901 F. Supp. 444, 450
  (D. Mass. 1995). Further, “[c]onstructive knowledge may be inferred from the
  widespread extent of the practices, general knowledge of their existence,
  manifest opportunities and official duty of responsible policymakers to be
  informed, or combinations of these.” Spell v. McDaniel, 824, F.2d 1380 (4th
  Cir. 1987).



                                     - 73 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 74 of 97      PageID #:
                                    1872


  basis of the plaintiff’s membership in an identifiable class,

  which in turn requires a showing of the plaintiff’s membership

  in an identifiable class and a similarly-situated Compare

  Class. 28/    Gallinger, 898 F.3d at 1016 (9th Cir. 2018).

                Plaintiff Garcia’s identifiable class is victims of

  domestic abuse whose abusers are HPD officers.            In addition to

  her claims that she was subjected to domestic abuse by Defendant

  Officer Lombardi, Plaintiff Garcia alleges that Officer Cachola

  abused his girlfriend and that HPD mishandled its response.               FAC

  ¶ 165.      Defendant Honolulu states in its Concise Statement of

  Fact that “[i]n 2014, after learning of the incident involving

  Officer Darren Cachola, HPD added a course to its Annual Recall

  Training which specifically deals with officer involved domestic

  abuse and domestic violence.”        ECF No. 133 at 3; Tsuchida Decl.,

  ECF No. 133-8 (“Tsuchida Decl.”), ¶¶ 10-11.           Plaintiff Garcia

  admitted her agreement to the preceding statement. 29/           Opp. to

  Honolulu Motion, CSF at 5 ¶ 19.         Other than the foregoing, the

  parties provide scant evidence regarding Officer Cachola.




        28/ Although the Court has held that Plaintiff’s equal protection claim
  is a pattern-or-practice claim amenable to the systemic branch of the
  continuing violations doctrine, as stated above, Plaintiff Garcia still must
  show that the alleged pattern-or-practice continued into the limitations
  period. Bird, 935 F.3d at 746.
        29/ The Court relies on Plaintiff Garcia’s FAC, the parties’ respective

  CSFs, and the Tsuchida Declaration for the references to the incident
  involving Officer Cachola. The Court does not rely on H.B. 2133 (also
  discussing the incident involving Officer Cachola), for which, as discussed
  infra, it has denied judicial notice.


                                     - 74 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 75 of 97    PageID #:
                                    1873


             Plaintiff Garcia’s Compare Class is victims of

  domestic abuse whose abusers are not HPD officers.         Plaintiff

  Garcia’s FAC references two incidents of domestic abuse where

  the abuser was not an HPD officer, alleging that in both cases,

  the abuser was promptly arrested.       FAC ¶¶ 172-73.    One of the

  incidents occurred on November 18, 2018, and the second occurred

  on November 24, 2018.     Id.; see also Cruce Decl., ECF No. 133-1

  (“Cruce Decl.”); Torres Decl., ECF No. 133-7 (“Torres Decl.”).

  Plaintiff Garcia does not submit evidence on summary judgment

  pertaining to the Compare Class instances, but Defendant

  Honolulu submits declarations from the officers who investigated

  those allegations and found probable cause to arrest the alleged

  abusers.   Cruce Decl.; Torres Decl.

             To establish an equal protection violation, Plaintiff

  Garcia must show the Defendant Honolulu unconstitutionally

  discriminated between the two classes by showing either

  intentional discrimination or deliberate indifference.          The

  Court has herein found that Defendant Lee did not engage in

  unconstitutional discrimination and dismissed the equal

  protection claim asserted against him.        However, Defendant

  Honolulu may still be found liable if Defendant Honolulu

  independently discriminated against Plaintiff Garcia based on

  her membership in the identified class.        See Fairley, 281 F.3d

  at 917.


                                    - 75 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 76 of 97    PageID #:
                                    1874


             As discussed below in its analysis of deliberate

  indifference, Defendant Honolulu has submitted evidence that in

  cases of domestic abuse alleged against its officers, HPD

  performs investigations, arrests, and submits allegations to the

  prosecutor.    See Nakasone Decl., ECF No. 133-5 (“Nakasone

  Decl.”).   Defendant Honolulu also submits evidence that it

  conducted detailed investigations of Plaintiff Garcia’s own

  complaints.    Johnson Decl., ECF No. 133-4 (“Johnson Decl.”);

  Thornley Decl., ECF No. 133-6 (“Thornley Decl.”); see also Lee

  Decl.   That Defendant Honolulu was appropriately investigating

  Plaintiff Garcia’s allegations of officer-involved domestic

  abuse is supported by the fact that the independent Ottawa

  Police Department reached the same conclusion as HPD in

  investigating the allegations of harassment brought by Plaintiff

  Garcia in her 2015 PSO complaint—that the allegations were

  better treated as family dispute, not a criminal matter.             Lee

  Decl. ¶ 50.

             Further, after the incident involving Officer Cachola,

  Defendant Honolulu took action by adding additional Annual

  Recall Training specifically dealing with officer-involved

  domestic abuse.    Tsuchida Decl. ¶¶ 10-11.      Defendant Honolulu’s

  active response to the only other incident in Plaintiff Garcia’s

  identified class undermines the conclusion that Defendant

  Honolulu was intentionally discriminating against or


                                    - 76 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 77 of 97     PageID #:
                                    1875


  deliberately indifferent to victims of officer-involved domestic

  abuse.

             In support of her claim of discrimination based on her

  membership in the identified class, Plaintiff Garcia submits the

  Davis Report.    Opp. to Honolulu Motion, CSF, ECF No. 158-4. 30/

  Initially, the Court notes that Ms. Davis includes some

  statements that she believes Plaintiff Garcia was treated

  differently based on her abuser being an HPD officer (the

  membership class), see e.g., Davis Report at ¶ 8, but the Court

  finds the statements of this kind are conclusory.            This is

  especially so given that Ms. Davis does not address how

  instances of non-officer-involved domestic abuse are treated and

  thus provides no basis for asserting Plaintiff Garcia was

  treated any differently.       In terms of factual evidence, Ms.

  Davis highlights certain areas she finds deficient in HPD policy

  as well as HPD’s handling of Plaintiff Garcia’s 2008 allegations

  of domestic abuse.

             Ms. Davis first acknowledges that HPD has at least

  three policies regarding officer-involved domestic abuse.              Davis

  Report ¶ 5 (citing “HPD Policy Number 3.26 Employees Involved in



        30/ The Court previously referred to the Davis Report with respect to

  Defendant Lee’s motion, citing Plaintiff Garcia’s opposition thereto.
  Plaintiff Garcia submits identical exhibits in opposition to both Defendant
  Lee’s motion and Defendant Honolulu’s motion. Accordingly, the “Davis
  Report” refers to either or both of ECF Nos. 157-4 (Opp. to Lee Motion, CSF)
  and 158-4 (Opp. to Honolulu Motion, CSF).


                                     - 77 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 78 of 97   PageID #:
                                    1876


  Domestic Violence”; “HPD Policy Number 3.12 Employee Early

  Recognition System”; and HPD Policy Number 7.09, which Plaintiff

  Garcia’s FAC identifies as being titled “Court Orders for

  Protection,” FAC ¶ 133, and describes as pertaining to

  allegations of officer-involved domestic abuse (see FAC ¶¶ 152-

  57)); see also Davis Report ¶ 5 (citing “HPD Policy Number 4.18

  Abuse of Family or Household Members” which would apply to both

  officer-involved domestic violence and ordinary cases).

             Ms. Davis states that HPD should have a “requirement

  for training for agency personnel on responding to officer-

  involved intimate partner violence,” and does not.         Davis Report

  ¶ 5.   But while it may be worthwhile to have a specific officer-

  involved domestic violence policy, HPD’s failure to do so simply

  means that HPD is not singling out officer-involved domestic

  violence for unique treatment.      That is, HPD’s policy, in the

  absence of a policy unique to officer-involved domestic abuse,

  is to treat all cases of domestic abuse the same.         This is

  consistent with, not a violation of, equal protection.          See Lee

  v. City of Los Angeles, 250 F.3d 668, 687 (9th Cir. 2001)

  (rejecting an equal protection claim that the City provided

  insufficient training regarding mentally disabled individuals,

  because providing specific training as to disabled individuals

  would be treating them differently from—not the same as—others

  similarly situated).


                                    - 78 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 79 of 97   PageID #:
                                    1877


               Ms. Davis also states that HPD’s policy pertaining to

  officer-involved domestic violence was issued in the year 2000

  with an instruction to post on the bulletin board for one week,

  which “trivializes the issue of police-perpetrated domestic

  violence.”     Davis Report ¶ 5.    The Court declines to find an

  equal protection violation based on the amount of time a policy

  was posted on a bulletin board twenty years ago, especially

  where it predates the relevant time period (here beginning in

  2008).

               Ms. Davis next identifies six ways in which she

  believes HPD mishandled Plaintiff Garcia’s 2008 allegations

  against Defendant Lombardi.      Pursuant to a policy requiring

  “appropriate intervention,” Ms. Davis states that Defendant

  Lombardi should have been subject to a division-level commander

  employee review at three different points during 2008 and was

  not.   Id.    She further states that in June 2008 HPD improperly

  waited three days after serving the protective order on

  Defendant Lombardi to remove his firearms in violation of HPD

  policy.    Id.   Ms. Davis also states that HPD should have

  performed a lethality assessment on Plaintiff Garcia in either

  March or June of 2008 pursuant to HPD policy, which would have

  shown that Plaintiff Garcia was at a high risk for homicide.

  Id. ¶ 6.




                                     - 79 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 80 of 97      PageID #:
                                    1878


               Further, Plaintiff Garcia filed a police report in

  June 2008 against Defendant Lombardi and was told by an HPD

  officer that the report lacked the elements of a criminal

  offense; according to Ms. Davis, this was an improper response

  because it was the officer’s obligation to investigate the

  claims and determine whether there was probable cause of a

  crime.     Id. ¶ 9.   Ms. Davis also identifies instances in June,

  September, and November of 2008 when Defendant Lombardi violated

  Plaintiff Garcia’s protective orders but was not arrested or

  subject to administrative action for doing so, stating this was

  in violation of HPD policy.        Id.   Finally, in June 2008

  Defendant Lombardi told another HPD officer that he was

  concerned Plaintiff Garcia would make a false report against

  him. 31/   In response, that officer authored a report stating that

  she was “familiar with circumstances surrounding events which

  confirm Officer Lombardi’s concerns,” which Ms. Davis identifies

  as evidence of collusion between the officers.            Id. at ¶ 10.

               The entire list of purported failures in HPD’s

  investigations occurred in the year 2008 and relate only to

  Plaintiff Garcia’s case.       This is problematic for multiple

  reasons.     First, because it only goes to the events in 2008, the


        31/ The Davis Report identifies this incident as occurring in June 2018,

  but Plaintiff Garcia’s FAC references the report as being dated June 2008,
  which is substantially more consistent with the chronology presented. FAC
  ¶ 88. The Court therefore understands the Davis Report’s reference to 2018
  to be a typographical error.


                                     - 80 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 81 of 97     PageID #:
                                    1879


  Davis Report fails to show a pattern or practice of equal

  protection violations extended into the 2016-2018 limitations

  period, as required to establish a viable claim.

              Second, because it relates only to Plaintiff Garcia’s

  case, the Davis Report fails to establish any differential

  treatment between the identified classes.          Assuming HPD violated

  certain policies in Plaintiff Garcia’s case, that fact is only

  relevant to an equal protection violation if HPD followed those

  same policies in the Compare Class instances.           Although the

  Davis Report contains certain conclusory statements that the

  cited deficiencies in handling Plaintiff Garcia’s complaints

  occurred because her abuser was an HPD officer, it contains no

  facts representing how the Compare Class was treated or whether

  HPD policy was followed in those cases. 32/        Again, Plaintiff

  Garcia does not offer evidence—in the Davis Report or otherwise—

  showing that the Compare Class was treated any differently.

  Plaintiff Garcia instead relies solely on the allegations in her

  First Amendment Complaint as to the two November 2018 Compare

  Class instances.     FAC ¶¶ 172-73.     Defendant Honolulu, for its

  part, provides declarations from the officers who investigated

        32/At the end of her report, Ms. Davis lists the documents she reviewed
  “to form [her] opinions.” Davis Report ¶ 11. The Court notes that Ms.
  Davis’ review appears to have been limited to documents in Plaintiff Garcia’s
  case, HPD policies, and an HPD organizational chart. Id. To the extent that
  Ms. Davis formed the opinion that Plaintiff Garcia was treated differently
  based on her abuser being an HPD officer without having reviewed HPD’s
  response in any other cases of alleged domestic abuse, the Court finds that,
  in addition to being conclusory, the statement is unsupported.


                                     - 81 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 82 of 97   PageID #:
                                    1880


  the Compare Class instances.      And those declarations, coupled

  with the declarations from the officers who investigated

  Plaintiff Garcia’s allegations, provide legitimate bases for the

  chosen response.    Compare Cruce Decl. & Torres Decl. with

  Johnson Decl. & Thornley Decl.

             Third, it is notable that the Davis Report emphasizes

  issues of physical domestic violence.        Ms. Davis contends that

  Plaintiff Garcia was at a high risk of homicide, that Defendant

  Lombardi’s guns were not taken away quickly enough, and cites to

  policies involving violence (e.g., HPD Policy Number 3.26, which

  addresses preventing violence and responses “[w]hen acts of

  violence occur,” FAC ¶ 142; Davis Report ¶ 5).         The evidence in

  Plaintiff Garcia’s case, on the other hand, does not involve

  allegations of violence other than the alleged and disputed

  sexual assault on the minor children.        The disparity between the

  concerns raised by Ms. Davis and the facts in this case limit

  the usefulness of the report.

             Because Defendant Honolulu met its initial burden of

  identifying the absence of a genuine issue of material fact as

  to Plaintiff Garcia’s failure to establish her claim that HPD

  violated her equal protection rights by exhibiting

  unconstitutional intent or treating the identified classes

  differently, and Plaintiff Garcia has failed to show evidence




                                    - 82 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 83 of 97   PageID #:
                                    1881


  that a genuine issue of material fact remains for trial,

  Plaintiff Garcia’s equal protection claim fails.

                   b.    Substantive Due Process

             Plaintiff Garcia also alleges that Defendant Honolulu

  violated her right to bodily integrity, which is a type of

  substantive due process claim protected by the Due Process

  Clause of the Fourteenth Amendment.        Under Bird, Pouncil, and

  Morgan, the continuing violations doctrine does not permit

  Plaintiff Garcia to recover for acts that occurred prior to the

  limitations period.     Moreover, in order to recover for the

  alleged violations that occurred within the limitations period,

  Plaintiff Garcia must be able to show that those are independent

  discrete violations—meaning, Plaintiff Garcia must be able to

  show a complete violation without reaching back to any untimely

  conduct in order to establish a necessary element of her claim,

  except that she may rely on untimely conduct to show motive and

  provide context for her timely claims.        Pouncil, 704 F.3d at

  581; Carpinteria, 344 F.3d at 829.

             The threshold standard for judging a substantive due

  process claim is whether the challenged conduct is so arbitrary

  and capricious that it “shocks the conscience and violates the

  decencies of civilized conduct.”       Lewis, 523 U.S. at 846

  (internal quotation marks omitted).        “[O]nly the most egregious

  official conduct can be said to be arbitrary in a constitutional


                                    - 83 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 84 of 97   PageID #:
                                    1882


  sense.”    Brittain v. Hansen, 451 F.3d 982, 991 (9th Cir. 2006)

  (quoting Lewis, 523 U.S. at 846).       In addition to conscience-

  shocking action, a plaintiff must show a government deprivation

  of life, liberty, or property because “there is no general

  liberty interest in being free from capricious government

  action.”    Id. (internal quotations marks and citation omitted).

              Plaintiff Garcia argues that Defendant Honolulu

  violated her right to substantive due process because Defendant

  Honolulu’s alleged custom of mishandling complaints alleging

  domestic abuse by HPD officers “permits, allows, encourages, and

  emboldens police officers to commit acts under color of law

  which violate a victim’s constitutional right to bodily

  integrity.”    FAC ¶ 216.   Considering the timely allegations,

  Plaintiff Garcia has not shown any violation of her right to

  bodily integrity by Defendant Honolulu.

              Plaintiff Garcia does allege that Defendant Lombardi

  harassed her, but as explained above, Defendant Lombardi’s

  personally-motivated conduct cannot be attributed to Defendant

  Honolulu.    The Court has now found that the timely-alleged

  incident report did not amount to a substantive due process

  violation.    Plaintiff Garcia generally alleges that Defendant

  Honolulu took insufficient action to protect her, but “[t]he

  general rule is that a state is not liable for its omissions and

  the Due Process Clause does not impose a duty on the state to


                                    - 84 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 85 of 97    PageID #:
                                    1883


  protect individuals from third parties.” 33/        Martinez v. City of

  Clovis, 943 F.3d 1260, 1271 (9th Cir. 2019).          The Court

  addressed this point in its dismissal of the substantive due

  process claim asserted against Defendants Arakawa and Hee, where

  the Court explained that substantive due process claims

  typically involve unjustifiable deliberate conduct; negligence

  necessarily does not constitute a violation and “when

  culpability falls between negligence and intentional conduct [it

  becomes] a matter for closer calls.”        Lewis, 523 U.S. at 834.

              Plaintiff Garcia has not submitted evidence of

  “deliberate decisions of government officials to deprive [her]

  of life, liberty, or property.”        Daniels, 474 U.S. at 331.       And

  in any event, as reviewed in the Court’s discussion of the equal

  protection claim asserted against Defendant Honolulu, supra, and

  in its discussion on the asserted custom, infra, the purported

  custom is not borne out by the evidence.         Defendant Honolulu has

  provided substantial evidence that it in fact conducts

  investigations of allegations regarding officer-involved

  domestic abuse—evidence that Plaintiff Garcia fails to refute.



        33/“There are two exceptions to this general rule. First, a special
  relationship between the plaintiff and the state may give rise to a
  constitutional duty to protect. Second, the state may be constitutionally
  required to protect a plaintiff that it affirmatively places in danger by
  acting with deliberate indifference to a known or obvious danger.” Martinez
  v. City of Clovis, 943 F.3d 1260, 1271 (9th Cir. 2019) (internal citation,
  quotation marks, ellipses, and footnote omitted). Plaintiff Garcia does not
  allege a special relationship and the Court has already discussed why the
  state-created danger doctrine does not apply.


                                    - 85 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 86 of 97   PageID #:
                                    1884


             Moreover, Plaintiff Garcia points to no timely

  discrete violation of her right to bodily integrity that

  Defendant Honolulu should have protected her from.         Again,

  Defendant Honolulu did in fact conduct investigations of

  Plaintiff Garcia’s complaints, despite that Plaintiff Garcia

  believes more action should have been taken.

             Defendant Honolulu has identified the absence of a

  genuine issue of material fact that Plaintiff Garcia failed to

  establish her claim that HPD violated her substantive due

  process rights, and Plaintiff Garcia has failed to show evidence

  that creates a genuine issue of material fact remains for trial.

  Accordingly, Plaintiff Garcia’s substantive due process claim

  fails.

             2.    Longstanding and Widespread Custom

             “[A]lthough the touchstone of the § 1983 action

  against a government body is an allegation that official policy

  is responsible for a deprivation of rights protected by the

  Constitution,” municipalities may be liable for “constitutional

  deprivations visited pursuant to governmental ‘custom’” if that

  custom is “persistent and widespread.”        Monell, 436 U.S. at 690-

  91 (internal quotation marks and citation omitted).          “Liability

  for improper custom may not be predicated on isolated or

  sporadic incidents,” rather, “it must be founded upon practices

  of sufficient duration, frequency and consistency that the


                                    - 86 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 87 of 97   PageID #:
                                    1885


  conduct has become a traditional method of carrying out policy.”

  Trevino, 99 F.3d at 918 (9th Cir. 1996).         That is, the alleged

  custom must be both widespread and longstanding.

              In its 05/03/2019 Order, the Court found that

  Plaintiff Garcia had adequately alleged a longstanding custom of

  mishandling domestic abuse complaints filed against HPD

  officers.    05/03/2019 Order at 39.       The Court included in its

  holdings findings made by the Hawai`i State Legislature in H.B.

  No. 2133 regarding issues of domestic abuse in Hawai`i between

  2008 and 2014, of which the Court took judicial notice.

  05/03/2019 Order at 28, 41-43.

              On summary judgment, the Court finds that judicial

  notice of the facts asserted in H.B. No. 2133 is inappropriate

  because Defendant Honolulu heavily contests those facts, and

  Plaintiff Garcia has not shown the facts are beyond dispute.

  Owino v. Holder, 771 F.3d 527, 534 n.4 (9th Cir. 2014) (denying

  judicial notice of an “Amnesty International article about

  conditions in Kenya” because “[t]he government does not concede

  that the facts in this article are beyond dispute, and Owino has

  not so demonstrated”); see also Lee v. City of Los Angeles, 250

  F.3d 668, 689–90 (9th Cir. 2001); Honolulu Motion at 20-21

  (“These off-handed statements made as part of the Legislative

  process are not admissible evidence, and thus should not be

  credited for purposes of summary judgment.”); Honolulu Reply at


                                    - 87 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 88 of 97   PageID #:
                                    1886


  6-8 (explaining that “Rule 201(b) only authorizes a court to

  take judicial notice of facts ‘not subject to reasonable

  dispute’” and stating that Defendant Honolulu “vigorously

  disputes” the legislative findings in H.B. 2133); Nakasone Decl.

  (undermining the assertions in H.B. 2133 as to Defendant

  Honolulu’s insufficient action on officer-involved domestic

  abuse cases by showing actions taken by HPD on allegations of

  officer-involved domestic abuse); Johnson Decl. (same, by

  showing HPD investigated allegations of domestic abuse asserted

  against Defendant Lombardi); Thornely Decl. (same).

              Defendant Honolulu argues that in the absence of the

  findings contained in H.B. No. 2133, Plaintiff Garcia has failed

  to show the existence of a longstanding and widespread custom.

  Even assuming constructive knowledge by Defendant Honolulu of

  all of Plaintiff Garcia’s allegations, the Court nevertheless

  agrees.

              First, Defendant Honolulu shows that, contrary to

  Plaintiff Garcia’s allegations, it does take action on

  allegations of officer-involved domestic abuse.         Defendant

  Honolulu submits the Declaration of Brandon Nakasone, who has

  worked in the PSO-CIS office for the past eight years, and who

  details the number of investigations and actions taken in cases

  where allegations of domestic abuse are made against HPD

  officers.    Plaintiff Garcia’s allegation of Defendant Honolulu’s


                                    - 88 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 89 of 97     PageID #:
                                    1887


  near-total inaction is undermined by evidence that Defendant

  Honolulu is conducting investigations, arresting its own

  officers, and sending reports regarding some of the complaints

  to the prosecutor’s office for further action.           Defendant

  Honolulu’s alleged inaction is likewise undermined by evidence

  that it did take action on the complaints made by Plaintiff

  Garcia against Defendant Lombardi, Johnson Decl.; Thornley

  Decl.; see also Lee Decl., and did take action by amending its

  Annual Recall Training after the incident involving Officer

  Cachola.    Tsuchida Decl. ¶¶ 10-11.        This latter change occurred

  in 2014, suggesting at that time no such custom existed.

              Second, Plaintiff Garcia fails to show that the

  investigations of her complaints were in fact substandard.              As

  to the 2008 investigations, Defendant Honolulu submits

  declarations from the officers who conducted these

  investigations, each of whom reviews the actions taken during

  the investigations and the relevant bases therefore. 34/           Johnson

  Decl.; Thornley Decl.      As to the 2015 PSO complaint, the Ottawa


        34/ As discussed above, the Davis Report does identify certain ways in

  which she believes HPD might have better handled Plaintiff Garcia’s
  allegations of domestic abuse in 2008. But in order for the purported
  deficiencies to be relevant to the asserted custom, they must have been
  practices used in Compare Class cases of domestic abuse (where the abuser is
  an ordinary citizen) and not used in cases of officer-involved domestic
  abuse. The Davis Report is specific to Plaintiff Garcia’s case, and aside
  from citing HPD policy, does not address HPD’s general practices. Because
  Defendant Honolulu has met its initial burden of identifying the absence of a
  genuine issue of material fact as to the existence of a custom, Plaintiff
  Garcia was required to come forward with facts showing there is a genuine
  issue for trial. This she has failed to do.


                                     - 89 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 90 of 97     PageID #:
                                    1888


  Police Department reached the same finding as HPD in reviewing

  overlapping allegations—that the contention between ex-husband

  and ex-wife at issue was a family dispute and did not rise to

  the level of a criminal offense.        See supra n.5.      An independent

  police department having reached the same conclusion strongly

  supports HPD’s determinations.        That Plaintiff Garcia did not

  like the outcome of those investigations does not mean that the

  investigations were substandard.        As to the 2017 PSO complaint

  investigated by Defendant Lee, the Court has already addressed

  the sufficiency thereof. 35/

                 Third, the asserted Compare Class instances both

  occurred in November 2018.       This is in contrast to Plaintiff

  Garcia’s allegations of mistreatment spanning the decade between

  2008 and 2018, and the incident involving Officer Cachola in

  2014.       Because the purported custom relies on the difference in

  treatment between the two groups, Plaintiff Garcia must show

  that Defendant Honolulu mishandled instances of officer-involved



        35/Further, unsustained complaints cannot alone establish a
  discriminatory custom. In the absence of evidence showing that “complaints
  filed were meritorious but were nevertheless unsustained,” this district has
  rejected a plaintiff’s argument “that the court should infer . . . the City’s
  failure to sustain complaints should create an inference of the City’s
  inadequate internal investigations and disciplinary procedures.” Bartolome
  v. City & Cty. of Honolulu, No. CIV. 06-00176SOMLEK, 2008 WL 2736016, at *9
  (D. Haw. July 14, 2008). The court likewise rejected a theory that the
  municipality had ratified the officers’ conduct by failing to investigate or
  discipline the officers, explaining “[t]he law does not say that, whenever an
  investigative group accepts an officer’s version over a victim’s differing
  version, this acceptance establishes a policy for which a municipality may be
  held liable under § 1983.” Id. (quoting Kanae v. Hodson, 294 F. Supp. 2d
  1179, 1191 (D. Haw. 2003)).


                                     - 90 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 91 of 97   PageID #:
                                    1889


  domestic abuse while at the same time properly handling other

  instances of domestic abuse.      The difference in timing between

  the two groups is problematic for Plaintiff Garcia, particularly

  given that the Court has already found that the recent handling

  of Plaintiff Garcia’s domestic abuse complaints does not

  constitute a violation and the Compare Class incidents at best

  only relate to the last two years.         Although the Court found

  these allegations sufficiently plausible to survive the minimal

  standard applicable on a motion to dismiss, Plaintiff Garcia has

  failed to buttress these allegations with evidence at the

  summary judgment stage.     See 05/03/2019 Order at 40.

             Accordingly, the Court finds that Defendant Honolulu

  has identified the absence of a genuine issue of material fact

  as to Plaintiff Garcia’s failure to establish her claim of the

  existence of a longstanding and widespread custom, and Plaintiff

  Garcia has failed to show a genuine issue of material fact

  remains for trial.

                  3.     Deliberate Indifference

             Monell liability requires a showing that the relevant

  custom amounts to deliberate indifference of the plaintiff’s

  constitutional rights.     City of Canton, 489 U.S. at 389.

  Deliberate indifference “is a stringent standard of fault,

  requiring proof that a municipal actor disregarded a known or

  obvious consequence of his action.”         Bd. of Cty. Comm’rs of


                                    - 91 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 92 of 97   PageID #:
                                    1890


  Bryan Cty., Okl. v. Brown, 520 U.S. 397, 410, 117 S. Ct. 1382,

  1391, 137 L. Ed. 2d 626 (1997).       “Deliberate indifference exists

  when the need for more or different action is so obvious, and

  the inadequacy [of existing practice] so likely to result in the

  violation of constitutional rights, that the policymakers of the

  city can reasonably be said to have been deliberately

  indifferent to the need.”      Hyun Ju Park v. City & Cty. of

  Honolulu, 952 F.3d 1136, 1141 (9th Cir. 2020) (alterations in

  original, internal quotation marks omitted) (quoting City of

  Canton, 489 U.S. at 390).

             The Declaration of Brandon Nakasone detailing the

  investigations, arrests, and conferrals with prosecutors where

  HPD has received complaints of officer-involved domestic abuse

  shows that Defendant Honolulu has not been deliberately

  indifferent to such complaints.       Further, Defendant Honolulu

  submits a series of policies in support of its motion, and

  states that its “policies and procedures have developed over

  time—with HPD recognizing and adopting effective practices and

  techniques to not only better fight domestic abuse and violence

  within the community, but address the problem of domestic

  abusers within its own force.”      Honolulu Motion at 4-5.      This

  includes Defendant Honolulu responding to an instance of

  officer-involved domestic abuse by adding Annual Recall Training

  specifically addressing that issue.        Tsuchida Decl. ¶¶ 10-11.


                                    - 92 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 93 of 97      PageID #:
                                    1891


              As pertaining specifically to Plaintiff Garcia, and

  even considering the allegations dating back to 2008, HPD

  submits evidence that it did investigate her complaints—even if

  Plaintiff Garcia disagreed with the conclusions thereof. 36/            See

  Johnson Decl. (describing his investigation of the 2008

  complaint of sexual assault against the minor children);

  Thornley Decl. (same); Lee Decl. (describing his investigation

  of the March 2017 complaint, as well as Lieutenant Lundberg’s

  investigation of the prior June 2015 complaint); see generally

  Nakasone Decl. (describing action taken by HPD on complaints of

  officer-involved domestic abuse).

              For her part, Plaintiff Garcia cites the numerous

  complaints she made to HPD regarding Defendant Lombardi.              See

  generally Garcia Decl.       But Defendant Honolulu conducted

  investigations of those complaints and Plaintiff Garcia has not

  shown that those investigations were substandard.            That

  Plaintiff Garcia disagreed with the outcome does not amount to

  deliberate indifference.       The Nakasone Declaration shows that in

  other cases, HPD did pursue arrest and prosecution of the

  allegedly abusing HPD officer, and the Johnson Declaration



        36/ The Court has herein found that Plaintiff Garcia’s substantive due

  process claim is a type of serial acts allegation, to which the continuing
  violations doctrine no longer applies. As stated above, the Court may
  consider untimely allegations for its discussion of motive, as well as for
  context. Even still, going back to the 2008 allegations does not save
  Plaintiff Garcia’s claims.


                                     - 93 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 94 of 97     PageID #:
                                    1892


  (submitted by the HPD officer who investigated Plaintiff

  Garcia’s most egregious complaints alleging the 2008 abuse of

  the minor children) provides a reasonable basis for the actions

  taken in the investigations of her complaints.           See also Lee

  Decl.

              Plaintiff Garcia cites the Lautenberg Amendment as

  providing a possible motivation for the HPD to look the other

  way when HPD officers engage in domestic abuse. 37/          Plaintiff

  Garcia’s expert witness generally proposes that, under the

  Lautenberg Amendment, a police officer convicted of domestic

  abuse would be barred from carrying a firearm, and HPD (and

  apparently every police force in the nation) thus might avoid

  prosecutions because of an existing manpower shortage.             Davis

  Report.   That a possible motivation exists for Defendant

  Honolulu to avoid investigation of its own officers, however,

  falls far short of the standard required to show Defendant

  Honolulu was in fact deliberately indifferent of officer-

  involved domestic abuse.

              The Court finds that, on the evidence presented,

  Defendant Honolulu has identified the absence of a genuine issue

  of material fact as to Plaintiff Garcia’s failure to establish


        37/ The Gun Ban for Individuals Convicted of a Misdemeanor Crime of

  Domestic Violence is informally known as the “Lautenberg Amendment,” and is
  codified at 18 U.S.C. § 922(g)(9). FAC ¶ 167. The Lautenberg Amendment,
  inter alia, prohibits any person who has been convicted of a misdemeanor
  crime of domestic violence from possessing a firearm. 18 U.S.C. 922(g)(9).


                                     - 94 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 95 of 97   PageID #:
                                    1893


  her claim HPD violated her equal protection rights by deliberate

  indifference to the need for more or different action regarding

  Plaintiff Garcia’s equal protection claim.        The Court further

  finds that Plaintiff Garcia has failed to show that a genuine

  issue of material fact remains for trial.

                  4.     Moving Force

             The last element of a Monell claim requires that the

  policy (or custom) is the moving force behind the ultimate

  injury.   Oviatt, 954 F.2d at 1481 (citing City of Canton, 489

  U.S. at 391).    “For a policy to be the moving force behind the

  deprivation of a constitutional right, the identified deficiency

  in the policy must be closely related to the ultimate injury.”

  Long, 442 F.3d at 1190 (quotation marks omitted, citing Gibson,

  290 F.3d at 1196).     The plaintiff must establish that the injury

  would have been avoided if the proper policies had been

  implemented.    Long, 442 F.3d at 1190 (citing Oviatt, 954 F.2d at

  1478).

             Plaintiff Garcia’s singular argument on this element

  points to a comment made by another HPD officer to Defendant

  Lombardi in September of 2008 which, she alleges, shows “the de

  facto policy emboldened the officer/abuser and was the moving

  force behind the constitutional violation.”        Opp. to Honolulu

  Motion at 11.    The Court would not find a single comment that

  occurred a decade before Plaintiff Garcia filed her complaint


                                    - 95 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 96 of 97   PageID #:
                                    1894


  sufficient to constitute evidence of the moving force element.

  The Court’s finding of no deliberate indifference and the

  absence of a widespread longstanding custom negate any

  likelihood that the alleged custom was a moving force.

              Because Defendant Honolulu has met its initial burden

  by identifying the absence of a genuine issue of material fact

  that Plaintiff Garcia has failed to establish her claim that the

  alleged custom existed and the absence of a genuine issue of

  material fact that Plaintiff Garcia has failed to meet any of

  the Monell elements, and Plaintiff Garcia has failed to

  establish any genuine issue of material fact remains for trial,

  Plaintiff Garcia’s Monell claim fails.



                                 CONCLUSION

              For the foregoing reasons, the Court:

     •   GRANTS the Motion for Summary Judgment filed by Defendant
         Paul Lee, ECF No. 131;

     •   GRANTS the Motion for Judgment on the Pleadings filed by
         Defendants Lanell Arakawa and Nathan Hee, ECF No. 130; and

     •   GRANTS the Motion for Summary Judgment filed by the City
         and County of Honolulu, ECF No. 134.

              The Court finds that dismissal with prejudice is

  warranted as to the claims against Defendants Arakawa and Hee.

  Litigation in this case has been ongoing for well over two

  years.    Plaintiff Garcia has already filed a first amended



                                    - 96 -
Case 1:18-cv-00100-ACK-WRP Document 191 Filed 09/18/20 Page 97 of 97     PageID #:
                                    1895


  complaint, and Plaintiff Garcia was further permitted an

  opportunity to file a second amended complaint following the

  05/03/2019 Order ruling on the prior motions to dismiss but

  opted not to do so.      See 05/03/2019 Order at 57.       During the

  more than two years of litigation, the parties have argued three

  sets of dispositive motions, conducted discovery, and postponed

  trial multiple times.      Given the procedural history and the

  advanced stage of litigation in this case, the Court finds

  dismissal with prejudice is now appropriate.



             IT IS SO ORDERED:

             DATED:    Honolulu, Hawai`i, September 18, 2020.




                                           ________________________________
                                           Alan C. Kay
                                           Sr. United States District Judge




  Garcia v. City and County of Honoulu, et al., Civ. No. 18-00100 ACK-WRP Order
  Granting Defendants’ Motions for Judgment on the Pleadings and to Dismiss.




                                     - 97 -
